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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NEW YORK


  SEN GAO, CONGLI HUO, RUIBIN WANG,
  LUXIAO XU, Individually and on behalf of
  all others similarly situated,
                                             Case No: 22-cv-07499-BMC
                    Plaintiffs,
                                             CORRECTED AMENDED CLASS
        v.                                   ACTION COMPLAINT FOR
                                             VIOLATIONS OF THE FEDERAL
  SINGULARITY FUTURE TECHNOLOGY,             SECURITIES LAWS
  LTD. F/K/A SINO-GLOBAL SHIPPING
  AMERICA LTD., YANG JIE, LEI CAO,           JURY TRIAL DEMANDED
  ZHIKANG HUANG, TUO PAN,
  XIAOHUAN HUANG, JING SHAN,
  TIELING LIU, JING WANG, LEI NIE,
  JOHN LEVY, THOR MINER, INC., and
  GOLDEN MAINLAND, INC.

                    Defendants.
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        Lead Plaintiffs Ruibin Wang, Sen Gao, Luxiao Xu, and Congli Huo (“Plaintiffs”),

individually and on behalf of all others similarly situated, by and through their attorneys, allege

the following upon information and belief, except as to those allegations concerning Plaintiffs,

which are alleged upon personal knowledge. Plaintiffs’ information and belief is based upon,

among other things, the investigation of Plaintiffs’ counsel, which includes without limitation: (a)

review and analysis of regulatory filings made by Singularity Future Technology Ltd. f/k/a Sino-

Global Shipping America Ltd. (“Singularity” or the “Company”) 1 with the United States Securities

and Exchange Commission (“SEC”); (b) review and analysis of regulatory filings made by SOS

Information Technology New York, Inc. (“SOS”) with the SEC; (c) review and analysis of press

releases and media reports issued by and disseminated by Singularity, as well as information on

Singularity’s website; (d) review and analysis of other publicly available information concerning

Singularity, Yang Jie (“Jie”), SOS, Thor Miner, Inc. (“Thor” or “Thor Miner”), and Golden

Mainland, Inc. (“Golden Mainland” or “Mainland”), in the U.S. and China; (e) consultation with

experts; (f) interviews of confidential witnesses in the U.S. and China; (g) review and analysis of

analyst reports regarding Singularity, including but not limited to May 5, 2022 reports by

Hindenburg Research (“Hindenburg Report”) and Peabody Street Research (“Peabody Report”);

and (h) court filings. Plaintiffs believe that substantial additional evidentiary support will exist for

the allegations set forth herein after a reasonable opportunity for discovery.

I.      PRELIMINARY STATEMENT

        1.       This is a class action on behalf of persons or entities who purchased or otherwise

acquired publicly traded Singularity securities between February 2, 2021 and February 24, 2023,



1
 On January 3, 2022, the Company changed its name from Sino-Global Shipping America, Ltd. (“Sino-Global”) to
Singularity. For uniformity, the Company is referred to as the “Company” or “Singularity” throughout, unless where
Sino-Global appears in an original quotation, regardless of the time period to which the reference relates.


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inclusive (the “Class Period”). Plaintiffs seek to recover compensable damages caused by

Defendants’ violations of the federal securities laws under the Securities Exchange Act of 1934

(the “Exchange Act”).

       2.      During the Class Period, Singularity held itself out as a global shipping and freight

logistics integrated solution provider that provided tailored solutions and value-added services to

its customers to drive efficiency and control in related steps throughout the entire shipping and

freight logistics chain. Singularity represented that it conducted business primarily through its

wholly-owned subsidiaries in the People’s Republic of China (the “PRC” or “China”) (including

Hong Kong) and the U.S. where Singularity represented that a majority of its clients were located.

Singularity also represented that it operated in two segments, including: (1) shipping agency and

management services, which are operated by Singularity’s subsidiaries in the U.S.; and (2) freight

logistics services, which are operated by Singularity’s subsidiaries in the PRC.

       3.      At the inception of the Class Period, Singularity’s legacy shipping business had

long been in decline, hampered by razor-thin margins and reliance on a small number of clients.

According to the sworn “Affirmation in Support” executed by attorney James J. Mahon, counsel to

Defendant Jie in a separate, now settled, securities fraud lawsuit, In re Singularity Future Technology

Ltd. Litig., 22-cv-08160 (S.D.N.Y.) (ECF 22, ¶ 12) (“Mahon Aff.” or “Mahon Affirmation”), and

counsel for Jie and Xiaohuan in this action:

       Singularity Future Trading f/k/a Sino Global Shipping (“Singularity” or “Sino
       Global”) has long been a troubled company with a historical pattern of its stock
       being described as nothing less than a “roller coaster” inevitably linked to
       questionable historical financial practices that predated Mr. Jie’s tenure.
       Singularity, operating under its predecessor name Sino Global, has numerous
       historical events that can be described as nothing less than a series of “red flags.”

       4.      Under the leadership of Lei Cao (“Cao”), former Singularity Chief Executive

Officer (“CEO”) who preceded the Company’s most recent former CEO – Defendant Jie –



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Singularity was in substantial decline. Cao hatched and began to implement a plan carried out by

himself and the other Defendants that entailed the issuance of numerous actionable material

omissions and misstatements, as described herein, including in connection with Singularity’s claim

that it was transforming from a small, struggling shipping company into a global leader in the

opaque but booming world of cryptocurrencies.

       5.      Beginning on or about January 28, 2021, Singularity embarked on a scheme to

create the appearance that it was shifting away from its struggling shipping and logistics business

to the emerging and highly unregulated cryptocurrency space.

       6.      Throughout Jie’s tenure as CEO, far from delinking from its questionable historical

financial practices and dealings, Jie and his co-Defendants engaged in a series of acts and practices

that reveal a seemingly absurd series of fraudulent conduct designed to inflate the value of

Singularity’s share price, deceive the investing public and enrich Singularity and the Individual

Defendants.

       7.      Singularity’s transition from a global logistics company to a crypto company did

not just “exhibit[] a company with an identity problem” (Mahon Aff. ¶ 66); rather, it was a platform

for fraud. The Defendants knew that Singularity’s lack of experience in the crypto space, along

with the continuing lockdowns in China and the global semiconductor shortage, would make it

extremely unlikely, if not impossible, for Singularity to deliver on the transition. Despite that

knowledge, Singularity continued to tout its success in the crypto space and used that purported

success to raise tens of millions of dollars based on phony promises that it could not deliver.

       8.      The Defendants’ misconduct has resulted in investigations of Singularity by the

United States Attorney’s Office for the Southern District of New York, FINRA, and the SEC, as

well as a potential delisting by NASDAQ.




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        9.        As discussed more fully below, the truth regarding the Defendants’ omissions and

misstatements began to emerge on May 5, 2022, with the publication of the Hindenburg Report

and Peabody Report which partially revealed the truth regarding Jie’s criminal background and

financial improprieties, related party transactions with SOS and Rich Trading Co. Ltd. (“Rich

Trading”), a sham joint venture with Defendant Golden Mainland, and the failure to disclose

Defendant John Levy’s tenure at China Commercial Credit, Inc. (“CCC”). Those disclosures

caused Singularity’s common stock price to fall 40.63%, from $6.75 to $4.80, on May 5, 2022,

and to fall an additional 13.21% on May 6, 2022. As a result of Defendants’ omissions and

misstatements, as the truth was revealed, Singularity faced delisting, the announcement of which

caused its stock price to fall 11.79% on October 7, 2022. On November 16, 2022, Singularity

revealed that as a result of the revelations in the Hindenburg Report of May 5, 2022, the Company

had received subpoenas from the United States Attorney’s Office for the Southern District of New

York and the SEC, which caused Singularity’s stock price to fall 22.97%. On September 23, 2022,

Singularity was sued in federal court for securities fraud in connection with improprieties related to

the raise of millions of dollars for the sale of unregistered securities causing the stock to fall 4%. On

October 6, 2022, Singularity was sued a second time for improprieties associated with the sale of

unregistered securities causing the stock to fall 11.7%. On December 5, 2022, Singularity was sued

for a third time in connection with its sale of unregistered securities causing the stock to decline 3%.

Finally, on February 24, 2023, when Singularity announced that it agreed to settle all of the securities

fraud claims against it for the sale of unregistered securities the common stock price fell 15% from

$0.69 to $0.60.

        10.       During the Class Period, Singularity and the Individual Defendants, as defined

below, failed to disclose to investors that: (a) the Company’s transformation to a cryptocurrency




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company was either a sham or, if it was not a sham, they knew the transformation was not

reasonably achievable (see VI.C, E, and F); (b) the Company raised over $21 million through the

sale of unregistered securities (through contracts that Singularity was in breach of the very moment

that the Company entered into them) on the basis of its sham transformation into a cryptocurrency

company (see VI.D); (c) Defendants made omissions and materially false misrepresentations

regarding the personal and professional backgrounds of CEO Jie and Director Levy (see VI.A);

(d) Defendants entered into related-party transactions with entities such as SOS (see VI.H.) and

Rich Trading (see VI.I); (e) Defendants formed sham companies or entered into joint ventures with

sham companies such as Golden Mainland (see VI.G); and (f) the Company lacked adequate

internal controls, one or more of which resulted in investigations by the United States Attorney’s

Office for the Southern District of New York, FINRA, and the SEC, as well as a potential delisting

by NASDAQ.

       11.     During the Class Period, Defendant Thor failed to disclose that it was a sham

company designed to facilitate the fraud by the Singularity Defendants and that it could not deliver

on the promises to develop and produce large quantities of proprietary cryptocurrency mining

machines.

       12.     During the Class Period, Defendant Golden Mainland failed to disclose that it was

a sham company designed to facilitate the fraud by the Singularity Defendants and that it could

not deliver the promised or necessary power to fuel Singularity’s purported cryptocurrency mining

operations.

       13.     As a result of this adverse information, Plaintiffs and the Class were damaged.

II.    JURISDICTION AND VENUE

       14.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. § 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder


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(17 C.F.R. § 240.10b-5).

       15.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

       16.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)), as the alleged misstatements entered, and the

subsequent damages took place in this judicial district.

       17.     In connection with the acts, conduct, and other wrongs alleged in this Complaint,

Defendants (defined below), directly or indirectly, used the means and instrumentalities of

interstate commerce, including but not limited to the United States mail, interstate telephone

communications, and the facilities of the national securities exchange.

III.   PARTIES

       A.      Lead Plaintiffs

       18.     Court-appointed Lead Plaintiffs Ruibin Wang, Sen Gao, Luxiao Xu, and Congli

Huo purchased Singularity securities during the Class Period, as detailed in Lead Plaintiffs’ sworn

certifications filed previously with the Court (ECF 12-1) and suffered damages as a result of the

federal securities law violations and materially false and/or misleading statements and/or

omissions alleged herein.

       B.      Defendants

       19.     Defendant Singularity Future Technology Ltd. f/k/a Sino-Global Shipping

America, Ltd. (previously defined as “Singularity”) is a Virginia corporation. Singularity’s

principal place of business is located in, and its operations are performed in, New York. Its

headquarters are located at 98 Cutter Mill Road, Suite 322, Great Neck, New York. Singularity is

a public company trading on the Nasdaq Global Markets Exchange under the ticker symbol SGLY

(formally SINO).


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          20.     Defendant Yang Jie (previously defined as “Jie”) served as Vice President of

Singularity beginning on January 1, 2021, and on November 1, 2021 was appointed as the

Company’s CEO, President, and Executive Chairman. On August 9, 2022, Jie resigned from his

positions as CEO and Director of Singularity following an investigation into allegations regarding

his alleged extensive criminal past in China.

          21.     Defendant Xiaohuan Huang (“Xiaohuan”), the wife of Defendant Jie, joined

Singularity in 2020 as a member of the Singularity Board of Directors (the “Board”) and

Chairperson of the Nominating/Corporate Governance Committee, a member of the Audit

Committee, and a member of the Compensation Committee. In an October 23, 2020 Form 8-K,

Singularity stated that “Ms. Xiaohuan Huang, 37 years old, is presently Vice President of SOS

Information Technology New York, Inc. Prior to that, Ms. Huang had been Vice President for

China Commercial Credit, Inc. from November 2016 to July 2020 . . . ” and that “[o]n October 22,

2020, the Nominating/Corporate Governance Committee of the Board nominated and the Board

appointed, Xiaohuan Huang as a Class I director, Chairperson of the Nominating/Corporate

Governance Committee, a member of the Audit Committee and a member of the Compensation

Committee, to hold office, effective October 23, 2020 until the Company’s annual meeting of the

shareholders in 2021, and a successor has been duly elected and qualified or until her earlier

resignation, removal from office, death or incapacity.” Investigation has failed to reveal a

disclosure indicating that Defendant Xiaohuan was not associated with SOS during the Class

Period. On November 1, 2021, Xiaohuan resigned from her positions at Singularity. 2

          22.     Defendant Lei Cao (previously defined as “Cao”) served as CEO of Singularity

from approximately 2001 to November 1, 2021, when he retired as CEO. 3 Cao’s Separation


2
    https://www.sec.gov/Archives/edgar/data/1422892/000121390021055789/ea149737-8k_sinoglobal.htm.
3
    Id.


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Agreement and General Release states that prior to his resignation, he was interviewed by the

Company’s Special Committee on several occasions in connection with the Hindenburg Report

and subpoenas from the United States Attorney’s Office for the Southern District of New York,

the SEC, and FINRA. The Agreement also reveals that Cao made a “detailed presentation of his

financial condition to counsel for the Special Committee on January 5, 2023 . . . .” 4

          23.      Defendant Zhikang Huang (“Zhikang”) served as Singularity’s Chief Operating

Officer (“COO”) beginning in 2010 until January 28, 2021, when he was replaced and named Vice

President-Operations. He further served as a Class I director beginning in 2015 until he resigned

his Board position on November 1, 2021.

          24.      Defendant Tuo Pan (“Pan”) served as Chief Financial Officer (“CFO”) of

Singularity from October 2015 to August 31, 2022, when she was terminated for cause as an

employee and as CFO of Singularity.5

          25.      Defendant Lei Nie (“Nie”), the husband of Defendant Pan, was COO of Singularity

from January 28, 2021 until August 5, 2021, when he was promoted to serve as Vice President.

Nie resigned as COO on August 5, 2021.6

          26.      Defendant Jing Shan (“Shan”) served as COO of Singularity starting on August 5,

2021. In her capacity as COO, Shan approved and authorized all expenditures of Singularity. Shan

executed the Purchase and Sale Agreement (“SOS Agreement”) between Thor Miner and SOS,

dated January 10, 2022. Singularity terminated Shan as COO for cause on July 10, 2023.

          27.      Defendant Tieliang Liu (“Liu”) served as a Director of Singularity beginning in


4
    https://www.sec.gov/Archives/edgar/data/1422892/000121390023002787/ea171630ex10-1_singularity.htm.
5
    https://www.sec.gov/ix?doc=/Archives/edgar/data/1422892/000121390022054510/ea165431-8k_singularity.htm.
6
 https://www.sec.gov/Archives/edgar/data/1422892/000121390021005183/ea134202-
8k_sinoglobal.htm;
https://www.sec.gov/Archives/edgar/data/1422892/000121390021041107/ea145482-
8k_sinoglobal.htm.


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2013. On July 3, 2023, Liu resigned as a Director and as a member of the Compensation

Committee, the Audit Committee, and the Nominating/Corporate Governance Committee.

       28.     Defendant Jing Wang (Wang”) served as a Director of Singularity from 2007

through November 18, 2021, when he retired from his positions as a member of the Board, the

Chairperson of the Compensation Committee, a member of the Nominating/Corporate Governance

Committee, and a member of the Audit Committee.

       29.     Defendant John F. Levy (“Levy”) served as a Director of Singularity beginning on

November 18, 2021 and, during his tenure, as a Chair of the Company’s Compensation Committee

and a member of its Corporate Governance and Auditing Committees. On February 23, 2023, Levy

tendered his resignation from his positions as a member of the Board and the Audit Committee,

the Compensation Committee and the Nominating/Corporate Governance Committee of the

Board, effective immediately.

       30.     Jie, Cao, Zhikang, Pan, Xiaohuan, Nie, Shan, Liu, Levy, and Wang are collectively

referred to herein as the “Individual Defendants.”

       31.     Each of the Individual Defendants:

               (a)    directly participated in the management of the Company;

               (b)    was directly involved in the day-to-day operations of the Company at the
                      highest levels;

               (c)    was privy to confidential proprietary information concerning the Company
                      and its business and operations;

               (d)    was directly or indirectly involved in drafting, producing, reviewing, and/or
                      disseminating the false and misleading statements and information alleged
                      herein;

               (e)    was directly or indirectly involved in Singularity’s sham transformation into
                      a cryptocurrency company and the related transactions described herein;

               (f)    was directly or indirectly involved in the oversight or implementation of the
                      Company’s internal controls;


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              (g)     was aware of or recklessly disregarded the fact that the false and misleading
                      statements were being issued concerning the Company; and/or

              (h)     approved or ratified these statements in violation of the federal securities
                      laws.

       32.    Singularity is liable for the acts of the Individual Defendants and its employees

under the doctrine of respondeat superior and common law principles of agency because all of the

wrongful acts complained of herein were carried out within the scope of their employment.

       33.    The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to Singularity under respondeat superior and agency principles.

       34.    Defendant Thor Miner, Inc. (previously defined as “Thor” or “Thor Miner”) is a

joint venture 51% owned by Singularity and 49% owned by HighSharp (Shenzhen Gaorui)

Electronic Technology Co., Ltd. (“Highsharp”), with a principal place of business located at 98

Cutter Mill Road, Suite 322, Great Neck, New York.

       35.    Defendant Thor:

              (a)     was privy to confidential proprietary information concerning the Company
                      and its business and operations;

              (b)     was directly or indirectly involved in drafting, producing, reviewing, and/or
                      disseminating the false and misleading statements and information alleged
                      herein;

              (c)     was directly or indirectly involved in Singularity’s sham transformation into
                      a cryptocurrency company and the related transactions described herein;

              (d)     was aware of or recklessly disregarded the fact that the false and misleading
                      statements were being issued concerning the Company; and/or

              (e)     approved or ratified these statements in violation of the federal securities
                      laws.

       36.    Defendant Golden Mainland, Inc. (previously defined as “Golden Mainland” or

“Mainland”), is a Georgia corporation with its principal place of business located at 751 Buford



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Hwy NE, Suite 404, Atlanta, GA, 30324.

         37.    Defendant Mainland:

                (a)    was privy to confidential proprietary information concerning the Company
                       and its business and operations;

                (b)    was directly or indirectly involved in drafting, producing, reviewing, and/or
                       disseminating the false and misleading statements and information alleged
                       herein;

                (c)    was directly or indirectly involved in Singularity’s sham transformation into
                       a cryptocurrency company and the related transactions described herein;

                (d)    was aware of or recklessly disregarded the fact that the false and misleading
                       statements were being issued concerning the Company; and/or

                (e)    approved or ratified these statements in violation of the federal securities
                       laws.

         38.    Defendant Singularity and the Individual Defendants are collectively referred to

herein as the “Singularity Defendants.” The Singularity Defendants, Defendant Thor and

Defendant Mainland are collectively referred to herein as the Defendants.

IV.      BACKGROUND AND NATURE OF THE FRAUD: DEFENDANTS’
         MATERIALLY FALSE AND MISLEADING STATEMENTS AND OMISSIONS

         39.    Singularity was founded in 2001 as a global shipping and freight logistics service

provider. Singularity became a publicly listed company on the NASDAQ in 2008, trading under the

symbol SINO.

         40.    According to the sworn Affirmation in Support by New York attorney James J.

Mahon, counsel for Defendant Jie and Xiaohuan in this action and a separate securities fraud lawsuit,

In re Singularity Future Technology Ltd. Litig., 22-cv-08160 (S.D.N.Y.) (ECF 22) (Mahon Aff.

¶ 12):

         Singularity Future Trading f/k/a Sino Global Shipping (“Singularity” or “Sino
         Global”) has long been a troubled company with a historical pattern of its stock
         being described as nothing less than a “roller coaster” inevitably linked to
         questionable historical financial practices that predated Mr. Jie’s tenure.


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          Singularity, operating under its predecessor name Sino Global, has numerous
          historical events that can be described as nothing less than a series of “red flags.”
          Exhibit E. The Peabody Report provides a significant roadmap to these red flags
          and the checkered history of Singularity and/or Sino Global. It should be noted that
          these events occurred before Defendant Yang Jie commenced his employment at
          Singularity.

          41.     Jie began his employment with Singularity in January 2021.7 The conduct detailed in

the Peabody Report, as identified in the Mahon Affirmation (as well as in the Hindenburg Report),

demonstrates that the “red flags” and, more importantly, fraudulent conduct did not cease upon the

commencement of Jie’s employment at Singularity. Rather, it accelerated, ultimately destroying

virtually all of the value of Singularity’s common stock.

          A.      Jie Assumes Control of Singularity and Omits and Misstates Material Facts
                  Regarding His Background

          42.     On November 1, 2021, following Cao’s resignation as CEO and appointment as Vice

President and Head of Research and Development, effective that day, Jie was promoted to CEO of

Singularity, and Pan was appointed CFO.

                  1.      Misstatements Relating to Jie’s Personal and Professional Background

          43.     Singularity announced the management changes in a Form 8-K signed by Jie and

filed with the SEC on November 1, 2021. On this news, on November 1, 2021, Singularity’s stock

rose from $3.04 per share to $3.42 per share on higher-than-normal trading volume. Singularity’s

stock price continued to rise, closing at $3.70 on November 2, 2022, on heavy volume.

          44.     Specifically, the November 1, 2021 Form 8-K stated in pertinent part:

          Item 5.02 Departure of Directors or Certain Officers; Election of Directors;
          Appointment of Certain Officers; Compensatory Arrangements of Certain
          Officers.

          On November 1, 2021, the Nominating/Corporate Governance Committee of the
          Board nominated and the Board appointed Mr. Yang Jie as the Registrant’s new
          CEO. Mr. Yang Jie, 37 years old, is presently serving as the Vice President of the

7
    https://www.sec.gov/Archives/edgar/data/1422892/000121390021055789/ea149737-8k_sinoglobal.htm.


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          Registrant. Mr. Yang Jie started his work with the Registrant from January 2021.
          From November 2016 to June 2021, Mr. Yang Jie served as the General Manager
          of China Commercial Credit, Inc. Mr. Yang Jie holds a Bachelor’s degree in
          Business Management from Beijing Finance and Trade Technology College. The
          Compensation Committee approved the terms of the employee agreement between
          the Registrant and Mr. Yang Jie in substantially the form attached hereto as Exhibit
          10.1. The employment agreement between the Registrant and Mr. Yang Jie
          provides for a five-year term that extends automatically in the absence of notice of
          non-renewal provided at least 30 days prior to the anniversary of the agreement.
          Mr. Yang Jie’s salary is $500,000 per year. Mr. Yang Jie has no family relationship
          with any director or executive officer of the Registrant or any person nominated or
          chosen by the Registrant to become a director or executive officer, but Mr. Yang
          Jie’s wife, Ms. Xiaohuan Huang, was the former independent director of the
          Registrant. Mr. Yang Jie has had (i) no direct or indirect material interest in any
          transaction or series of similar transactions contemplated by Item 404(a) of
          Regulation S-K and, (ii) as of the date of this current report on Form 8-K (this
          “Report”), Mr. Yang Jie holds no direct ownership in the Registrant’s stock or
          rights to acquire the Registrant’s stock, but Mr. Yang Jie’s wife, Ms. Xiaohuan
          Huang, the former independent director of the Registrant, holds 20,000 shares of
          the Registrant’s stock.

          45.      In an April 22, 2022 Proxy Statement filed with the SEC and signed by Jie,

Singularity misrepresented Jie’s expertise and omitted that he had a long history of failed businesses,

an inconsistent educational history, and allegations of serious criminal conduct in his past. For

example, Singularity represented, in part:8

          Mr. Yang Jie served as General Manager of China Commercial Credit, Inc. Mr. Yang
          Jie holds a Bachelor’s degree in Business Management from Beijing Finance and
          Trade Technology College. Mr. Jie has been nominated to serve because of his
          business management experience.

          46.      Upon information and belief, Levy, having served as a director of CCC (where Jie

was a General Manager), was aware of the litigation styled, China Commercial Credit, Inc. v.

Sorghum Investment Holdings Limited, ICDR Case No. 01-18-0000-4901 (30 July 2018), including

Jie’s alleged improprieties in that action, as alleged herein.

          47.      As discussed below, Singularity’s Class Period disclosures, as alleged herein,



8
    https://www.sec.gov/Archives/edgar/data/1422892/000121390022010809/def14a0322_singularity.htm.


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regarding Jie’s educational and professional background were materially misleading because they

failed to disclose, among other things, Jie’s true educational background, that he had an outstanding

arrest warrant in China, committed forgery, and became the largest shareholder and VP of Finance

for a Nasdaq-listed lending company, CCC, which failed after reporting massive losses.

           48.     Singularity’s website provided no biographical information about Jie and only

offered the following cartoon caricature of him – identified by the name “Leo” on Singularity’s

website – which may have been designed to make it more difficult for the authorities and aggrieved

investors to identify Jie as the fugitive and perpetrator of the alleged financial improprieties:9




           49.     Despite Jie’s status as the CEO of an international publicly-traded company,

Singularity said little about him publicly. Jie kept a low profile, only speaking publicly about

Singularity through press releases and mandatory SEC filings.

                   2.       Evidence That Statements About Jie’s Educational and Professional
                            Background Were Materially Misleading

           50.     Substantial evidence supports the conclusion that Jie: (a) attempted to defraud

business partners while serving as a General Manager of CCC and engaged in a variety of financial


9
    https://web.archive.org/web/20220328192817/https:/www.singularity.us/.


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and other improprieties, including the diversion of $3.5 million of funds and subsequently

benefitting from a false affidavit filed in connection with an arbitration to recover those funds,

working with insiders of CCC’s counterparty to divert funds in the transaction, and procuring a

fairness opinion from an entity that he controlled without disclosing the conflict; (b) had an

association with a $300 million Ponzi scheme in China, variously utilizing forged or misleading

documents in an attempt to convince others that the allegations regarding his criminal conduct

were incorrect; and (c) caused or allowed false and/or misleading versions of his educational

background to proliferate.

                        a.      Jie Committed Fraud as the General Manager of CCC and
                                Attempted to Conceal the Fraud by Procuring a False Affidavit

        51.      In October 2016, Jie was appointed Vice President of Finance for CCC. 10

        52.      Approximately one month later, Jie’s wife, Xiaohuan, was appointed Vice

President of CCC.11

        53.      By the following December, Jie and Xiaohuan were listed as the largest

shareholders of CCC with a 22.5% stake.12

        54.      CCC posted consistent losses and eventually became financially distressed by the

end of 2016.13

        55.      In August 2017, Shanghai Wheat Asset Management Co., Ltd., a wholly-owned

subsidiary of Sorghum Investment Holdings Ltd. (“Sorghum”), entered into an agreement to

acquire CCC with the expectation of becoming publicly-listed in the U.S. via a reverse-merger.

However, Sorghum terminated the transaction several months later, alleging that CCC failed to




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   https://www.sec.gov/Archives/edgar/data/1556266/000121390017003456/f10k2016_chinacommercial.htm.
11
   https://www.sec.gov/Archives/edgar/data/1422892/000121390021050437/f10k2021_sinoglobalship.htm.
12
   https://www.sec.gov/Archives/edgar/data/1556266/000121390017012910/prer14a1017a3_chinacommercl.htm.
13
   https://www.sec.gov/Archives/edgar/data/1556266/000121390017003456/f10k2016_chinacommercial.htm#a_011


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disclose “all necessary material information.” 14

        56.     The deal terms for the transaction between Sorghum and CCC provided that Jie

would receive $3.5 million if the deal closed, but that prior to the close of the transaction, the funds

would be wired into an escrow account maintained at TD Bank by Jie’s counsel, Yi Lin, an attorney

in New York. The terms also provided that if the deal did not close, “the $3.5 million in the Lin

escrow account would be refunded to NoNoBank, with interest, upon the written consent of Mr.

Jie and Nonobank.”15

        57.     As the transaction was unfolding, Sorghum alleged that it discovered Jie was under

criminal investigation for securities fraud in China, a fact that was concealed from it and investors

in general.16

        58.     In addition to Jie’s alleged securities fraud in China, Sorghum discovered that Jie was

engaged in a scheme to procure a false fairness opinion to facilitate the transaction through an

undisclosed related party transaction. Specifically, according to a May 6, 2019 Opinion and Order

in Sorghum Investment Holdings Ltd. v. China Commercial Credit, Inc., Index No. 655372/2018

(Sup. Ct. NY) (No. 62), issued by Justice Borrok of the New York Supreme Court in a subsequent

action to vacate an arbitration award in favor of CCC in an action initiated by Sorghum over the

failed transaction, Justice Borrok wrote:

        Sorghum discovered that the advisory firm [Daqin Consulting Service (Shenzhen),
        Limited]17 that it had retained to render a fairness opinion as to the Transaction was
        wholly-owed by Mr. Jie. This conflict of interest had not previously been disclosed.
        Sorghum’s investigation also revealed that Mr. Jie had colluded with a rogue


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   https://www.sec.gov/Archives/edgar/data/1556266/000121390018000072/f8k122917_chinacommercial.htm;
https://www.sec.gov/Archives/edgar/data/1556266/000121390019005814/f10k2018_chinabatgroup.htm
15
   https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=FFmj40HZ6rta3CAgv_PLUS_3/zg
==&system=prod.
16
   Id.
17
   https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=J02ta1rPzEsoSKFAnYtK6w==&
system=prod; https://jusmundi.com/en/document/decision/pdf/en-china-commercial-credit-inc-v-sorghum-
investment-holdings-limited-final-award-monday-30th-july-2018.


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       employee of Nonobank, Xioying Sun, to divert the payment of the $3.5 million
       escrow funds to Mr. Jie’s account.18

       59.     Pursuant to the parties’ deal terms, CCC and Sorghum submitted their dispute to a

AAA arbitration. CCC prevailed19 on the basis that:20

       In the course of the arbitration proceedings, Mr. Lin made a declaration as to the
       events giving rise to the termination of the Transaction. In his declaration, Mr. Lin
       stated that he never signed any agreement relating to the escrow payment, had no
       record of any escrow agreement, and had no record of any escrow account (NYSCEF
       Doc. No. 50 ¶¶ 115-116, 120). Mr. Lin further stated that he had “no direct or
       indirect” proof that the purported escrow funds were ever deposited (id. ¶ 122).
       Relying on the declaration of Mr. Lin, the Arbitrator concluded that Nonobank never
       made the escrow payment as required under the Escrow Arrangement and found that
       Sorghum committed a willful breach of the SEA (id. ¶¶ 102, 107, 113-122, 152).

       60.     Following the arbitration award in favor of CCC, Justice Borrok presided over

Shanghai NoNoBank Financial Information Service Co. v China Commercial Credit Inc., Index

No. 653834/2014 (Sup. Ct., N.Y. Cnty.), an action in which NoNoBank attempted to recover the

$3.5 million payment in the Sorghum deal.

       61.     In the NoNoBank litigation, evidence of Jie’s and Lin’s misconduct ultimately

surfaced. Justice Borrok wrote:21

       It later became apparent that Ms. Xiaoying Sun, an employee of Sorghum responsible
       for overseeing the Reverse Merger, including making arrangements for the transfer
       of funds into the Lin Escrow Account, was secretly working with Mr. Jie to divert
       the escrow funds to accounts controlled by Mr. Jie (id. ¶ 30). Sorghum subsequently
       learned that Mr. Jie was under criminal investigation in China in connection with the
       theft of approximately 2.9 billion RMB, the equivalent of roughly 300 million U.S.
       dollars, from more than 20,000 investors through fraudulent securities transactions
       (id. ¶ 31).



18
   https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=YTlBYmx5sRVD9SHQ9FjZjw==&
system=prod.
19
   https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=J02ta1rPzEsoSKFAnYtK6w==&
system=prod; https://jusmundi.com/en/document/decision/pdf/en-china-commercial-credit-inc-v-sorghum-
investment-holdings-limited-final-award-monday-30th-july-2018.
20
   https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=YTlBYmx5sRVD9SHQ9FjZjw==&
system=prod.
21
   https://casetext.com/case/shanghai-nonobank-fin-info-serv-co-v-jie.


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        62.     Armed with evidence from the Nonobank litigation, Sorghum filed an action in the

New York Supreme Court seeking to vacate the award in the Sorghum action. Recognizing the “high

bar” and “limited circumstances where it is appropriate for a court to vacate an arbitration award,”

Justice Borrok found in favor of Sorghum and granted its petition to vacate the original arbitration

award in favor of CCC,22 finding, in part:23

        Discovery in a related action currently pending before this court, Shanghai
        NoNoBank Financial Information Service Co. v China Commercial Credit Inc.,
        Index No. 653834/2014, revealed that Mr. Jie had in fact wired the escrow payment
        to the Lin Escrow Account (NYSCEF Doc. Nos. 24, 25). Documents produced by
        TD Bank confirm that the sum of $3.5 million dollars was wired in two payments
        from accounts controlled by Mr. Jie to Mr. Lin’s attorney escrow account at TD
        Bank on December 20, 2017 (id.).

        63.     Relatedly, CCC and Jie failed to disclose the $3.5 million escrow payment in CCC’s

SEC filings, a material omission.24

        64.     Jie and Singularity omitted that Jie’s tenure at CCC was marred by fraud, the

misallocation of $3.5 million, the procurement of a false affidavit, the fabrication of evidence

regarding his criminal background, and the procurement of a sham “fairness opinion” in an

undisclosed related party transaction.

                         b.      Jie’s Alleged Criminal History

        65.     Beyond his misconduct at CCC (China Commercial Credit, Inc. v. Sorghum

Investment Holdings Limited, ICDR Case No. 01-18-0000-4901 (30 July 2018)), as found by Justice

Borrok, Singularity and Jie failed to disclose Jie’s criminal conduct, which numerous sources in



22
   https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=J02ta1rPzEsoSKFAnYtK6w==&
system=prod; https://jusmundi.com/en/document/decision/en-china-commercial-credit-inc-v-sorghum-investment-
holdings-limited-final-award-monday-30th-july-2018.
23
   https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=YTlBYmx5sRVD9SHQ9FjZjw==&
system=prod.
24
   https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=aWOGsmBbhxDeJ7SpEaLJrw==&
system=prod; https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=NFTC9aKuARUy/uCO
EQf0ZA==&system=prod.


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China corroborate.

        66.     For example, during the course of the dispute between CCC and Sorghum, Jie

allegedly attempted to prove that he was not the subject of criminal investigation in China by

producing a purportedly official letter from Chinese police purporting to show that they did not

intend to pursue charges against him. However, Chinese media reportedly obtained a letter from the

Hefei Police that confirmed that the document was a fabrication, stating:25

        [Translated] Since we still do not have Yang Jie in custody, the Letter of Decision
        not to press charges presented by Yang Jie that you submitted to us is clearly
        fabricated, and Yang Jie is suspected of forging official government documents.

        67.     As a result, police in China reportedly added forgery to Jie’s list of suspected crimes.

Jie resigned from CCC in February 2018 while the litigation with Sorghum was still unfolding.26

        68.     A July 3, 2022 Singularity Form 8-K states: “[o]n May 6, 2022, the Board of

Directors of the Company (the “Board”) formed a special committee of its Board of Directors (the

“Special Committee”) to investigate, in part, the allegations in the Hindenburg Report that Jie was a

fugitive on the run from the Chinese authorities.” In the Form 8-K, Singularity explained:27

        As previously disclosed in the Original 10-K, the Original 10-Q and the Original 8-
        K, on May 5, 2022, an entity named Hindenburg Research issued a report (the
        “Hindenburg Report”) regarding the company alleging, pertinent to this disclosure,
        that the Company’s then CEO, Mr. Yang Jie, was a fugitive on the run from the
        Chinese authorities for running an alleged $300 million Ponzi scheme that lured in
        over 20,000 victims. On May 6, 2022, the Board of Directors of the Company (the
        “Board”) formed a special committee of its Board of Directors (the “Special
        Committee”) to investigate, in part, the allegations in the Hindenburg Report that the
        Mr. Jie was a fugitive on the run from the Chinese authorities. Subsequently, on
        August 16, 2022, the SEC and attorneys from Blank Rome LLP, counsel for the
        Special Committee, held a conference call, during which counsel represented that
        Mr. Jie had provided documentation to the SEC that indicated that the charges against
        him in the People’s Republic of China (‘the “PRC”) had been dropped, but the
        Special Committee’s investigation raised questions regarding the authenticity of such

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   https://zhuanlan.zhihu.com/p/42011489.
26
   https://www.sec.gov/Archives/edgar/data/1556266/000121390018001606/f8k021218_chinacommercial.htm;
https://www.sec.gov/Archives/edgar/data/1556266/000121390018004514/f10k2017_chinacommercial.htm.
27
   https://www.sec.gov/Archives/edgar/data/1422892/000121390023053742/ea181261-8k_singularity.htm.


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        documents. The Special Committee concluded that a “Red Notice” was issued in the
        PRC with respect to Mr. Jie. A “Red Notice” is a request to law enforcement
        worldwide to locate and provisionally arrest a person pending extradition, surrender,
        or similar legal action. It is based on an arrest warrant or court order issued by the
        judicial authorities in the requesting country. After being suspended by the Special
        Committee on August 8, 2022, Mr. Jie resigned from his positions as CEO and as a
        director of the Company on August 9, 2022.

        69.     As discussed below, independent investigation by Lead Counsel suggests that Jie’s

Zonglun W&R Report (“W&D Report”) is not reliable and provides a misleading and inaccurate

recitation of the facts regarding Jie’s criminal background.

        70.     Additional conflicting information exists. For example, in the Shorghum action

against CCC where Jie’s efforts to pass off forged documents was debunked. There, the arbitration

decision states, in part:28

        hh) On or about January 1, 2018, Mr. Jie sent an email to Respondent, denying that
        he was part of the Fraud and attached a “No-Prosecution” letter which stated that he
        had been the victim of the Fraud;

        ii) Respondent hired a Chinese lawyer who gave an “authenticity” opinion that the
        document supplied by Mr. Jie was falsified;

        71.     In the following paragraph, Singularity’s July 3, 2022 Form 8-K then discusses a

“legal opinion” obtained by Jie which appears to contradict the findings of its own investigation, but

makes no mention of the Red Notice, defined above:

        On February 10, 2023, in response to two, now-settled, lawsuits filed by private
        investors, Mr. Jie filed a motion to dismiss the private investor’ suits and provided
        a copy of a formal legal opinion issued by the Zhonglun W&D Law Firm, PRC
        (“Zonglun W&D”). The Zonglun W&D legal opinion concluded that Mr. Jie was
        not charged with a crime in China, the investigation and underlying case had indeed
        been closed, and Mr. Jie was not formally treated as a criminal suspect in the PRC.




28
  https://jusmundi.com/en/document/decision/en-china-commercial-credit-inc-v-sorghum-investment-holdings-
limited-final-award-monday-30th-july-2018.


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 Despite that, the Form 8-K fails to disclose that the scope of the W&D Report is limited to “a

 criminal case . . . of Anhui Tianhe Union Technology Co., Ltd.” See SDNY Pacer (22-cv-08160-

 LJL Document 23-13 Filed 02/10/23).

           72.      Singularity then states that its initial conclusion, which led its Special Committee to

suspend Jie, may be wrong:

           In order to provide more clarity to the issues raised, the Registrant engaged Hebei
           Mei Dong Law Firm, of Shijiazhuang City, PRC to further investigate the
           authenticity of the documentation provided by Mr. Jie to the SEC and whether a
           “Red Notice” had been issued. On June 12, 2023, Hebei Mei Dong Law Firm issued
           a report to the Registrant with respect to these issues. In their report, the Chinese
           counsel concluded after conferring with local officials, that investigation of Mr. Jie
           conducted by the Baohe District Police Bureau of Hefei City, PRC was completed,
           that Mr. Jie was never prosecuted and there was no criminal judgment against Mr.
           Jie as of the date of such report. The Chinese counsel also confirmed that no “Red
           Notice” was issued for Mr. Jie in the PRC.

           73.      Singularity did not provide a copy of the Hebei Mei Dong Report in its 8-K.

           74.      Inexplicably, Singularity’s Form 8-K dated July 3, 2022 does not discuss or rely on

the letter that Jie allegedly fabricated in the Sorghum arbitration.

           75.      Regardless, the W&D’s Report29 is unreliable. The Report states:




29
     In re Singularity Future Technology Ltd. Litig., 22-cv-08160 (S.D.N.Y.) (ECF 22-44).


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        76.     Despite the representation in the W&D Report, Jie was indeed mentioned in the

criminal judgments / criminal rulings. However, in some of the judgments / rulings, there was a

bracketed note after Jie’s name, which is (另案处理), meaning Jie would be treated in a separate

case. This suggests that there was a case filed against Jie or that the police were investigating and

planning to file such a case.

        77.     At least two criminal rulings obtained from authorities in China include entries that

support the conclusion that the W&D Report is wrong or misleading, as shown in the following

screenshot excerpts:




                                                 22
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  Case No.               Screenshot showing “(另案处理)” after Jie’s name
                         (Jie’s full name is reddened below, and (另案处理) highlighted in yellow)
  （ 2018 ） 浙 10 刑
  终
  1101 号




  （2020）皖         0111
  刑初
  22 号




        78.     The Zonglum W&D Report asserts that Jie has not been convicted and, therefore,

can only be called a suspect. However, the W&D Report omits that Jie was on the PRC’s wanted

list. If, as alleged, Jie was on the run and could not be taken into custody, he could not be transferred

to the procuratorate and then the court. Hence, the police could not investigate Jie, and the

procuratorate could not prosecute. Then, the court did not have the chance to review his

circumstances or the potential crime he may have committed. The W&D Report also pointed out

that Jie does not meet the conditions for trial in absentia. The foregoing illustrates why Jie has not

been (or rather, could not be) convicted yet.

        79.     Myriad sources support the conclusion that Jie is or was wanted in China.

        80.     For example, the Final Award in the arbitration China Commercial Credit, Inc. v.

Sorghum Investment Holdings Limited, ICDR Case No. 01-18-0000-4901 (30 July 2018), also




                                                   23
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states:30

        s) On or about December 17, 2017, China Central Television (“CCTV”) announced
        that Mr. Jie was under criminal investigation by Chinese law enforcement authorities
        in connection with fraudulent securities transactions [unrelated to the transactions in
        issue in this Arbitration] (the “Fraud”);

        t) On December 15, 2017, the relevant Chinese law enforcement authority issued a
        press release about the Fraud stating that Mr. Jie was the main suspect;

        u) On December 19, 2017, CCTV issued a press release regarding the criminal
        investigation which stated that Mr. Jie was a fugitive wanted by law enforcement.

        81.     Further, Jie was named as a defendant in Shanghai Nonobank Financial Information

Service Co., Ltd. v. Jie, et. al, Index No. 653834/2018 (Sup. Ct., N.Y. Cnty.), in connection with the

disappearance of $3.5 million which Jie allegedly refused to return after the failed reverse merger.

The Nonobank complaint alleges, in part, that a party to the transaction “received confirmation

directly from PRC government authorities that Jie is the main suspect in an ongoing criminal

investigation, which remains pending as of the date of this Complaint.” 31

        82.     Confidential Witness 1 (“CW 1”) is a citizen of the PRC and a former franchise

business owner who operated a branch of Shenzhen Tianhe Union Technology Co Ltd. CW 1 met

Defendant Jie at an exposition in China and invested in a Shenzhen Tianhe Union Technology Co.

Ltd. (“Shenzhen”) franchise. CW 1 terminated the franchise because it was unprofitable and Jie,

then one of the principals of Shenzhen, was the subject of efforts by several people in China,

primarily lawyers, seeking compensation for unpaid fees. One or more of the lawyers seeking

payment from Jie sent messages to Shenzhen franchisee investors alleging that Jie was engaged in

illegal fundraising.



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   https://jusmundi.com/en/document/decision/en-china-commercial-credit-inc-v-sorghum-investment-holdings-
limited-final-award-monday-30th-july-2018.
31
   https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=58BxuW6pZLxjO_PLUS_JU5Ebed
Q==&system=prod.


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        83.      CW 1 believes that Jie was engaged in fraud. CW 1 related that Jie was seeking to

quickly grow the franchising business but was doing so in a way that constituted illegal

fundraising. CW 1 stated that Jie did not “flee to the U.S.” but once in the U.S., Jie “could not fly

back.” CW 1 also learned that a significant part of the franchise investment fees had been sent to

the personal bank accounts of managers of the business rather than that of Shenzhen.

        84.      Investigation reveals that Jie is connected to a $300 million Ponzi scheme in China,

as asserted in the Hindenburg Report, arising from his connection to an entity Anhui Tianhe Union

Technology Co. Ltd. (“Anhui”).

        85.      Court proceedings in connection with the Anhui Ponzi scheme resulted in the

conviction of all 23 defendants in China. Each defendant was convicted of the charge of illegal

absorption of public deposits, except Gao Xinru, who was convicted of fundraising fraud.

        86.      Most of the judgment records name Jie as the primary actor in the scheme. The

records indicate that Jie would be handled separately from the 23 cases that resulted in convictions.

One of the judgement records from 2018, identified as Case 皖01刑终658号 with the Judgment


Title, 汪荣华、邱训涛非法吸收公众存款二审刑事裁定书, provides a detailed account of how the

crime was committed and how Jie manipulated the criminal process. 32 Indeed, several companies

registered under Jie in China are identified in the Anhui criminal judgments as having been

involved in the Anhui case for accepting funds or distributing funds to Jie’s account or others.

        87.      Jie has been described as the beneficial controller behind Anhui, according to media

reports and the criminal judgments in China. Documents obtained from authorities in China

indicate that Jie exercised control over Anhui. Following is a screenshot of an excerpt of one such


32
   The same record identifies Jie’s spouse as Xiaohuan Huang (黄小环) and alleges that she was indirectly involved
in Jie’s Ponzi scheme and business operations to varying degrees, although Xiaohuan is not named a defendant.


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document that describes Jie as the person who controls Anhui and is said to have conspired with

Ronghua Wang (convicted), Xuntao Qiu (convicted) and others to commit the crimes associated

with Anhui:




       88.     The following statement issued by the Economic Crime Investigation Squad of

Hefei Public Security Bureau Baohe District Branch on July 18, 2018 states that the Squad issued

a wanted order, also known (as referenced above) as a “Red Notice,” against Jie in May 2017 and

had applied with the Baohe District People’s Procuratorate for the arrest of Jie Yang on suspicion

of a fraudulent fund-raising crime (集资诈骗罪). Notably, the following statement was obtained


by independent investigation but references Shanghai Wheat Asset Management Co. Ltd., the

parent of Sorghum, which alleged that it too had obtained a statement that Jie was under

investigation, and in response to which Jie purported to provide evidence that Sorghum’s

information was not accurate.




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            Statement [TRANSLATION]

            July 18, 2018

            From: Qu Xiaolong (屈晓隆) of Hefei Public Security Bureau Baohe District Branch
            Economic Crime Investigation Squad

            To: Shangai Wheat Asset Management Co Ltd (上海麦子资产管理有限公司)
            In witness whereof, our squad filed the illegal public deposit absorption case of Anhui
            Tianhe Union Technology Co Ltd (安徽天合联盟科技有限公司) on April 19,
            2016. During our investigation, our squad found that the case’s main culprit is Jie
            Yang33 (揭洋), who orchestrated the whole case. Our squad issued a wanted order
            against Jie Yang in May 2017, and has applied with Baohe District People’s
            Procuratorate for arrest of Jie Yang on suspicion of the crime of fraudulent
            fundraising (集资诈骗罪). Since to date Jie Yang has not been brought to justice, the
            “No Prosecution Decision” document your company produced as provided by Jie
            Yang is utterly fictitious and Jie Yang’s practice is suspected of constituting forgery
            of official documents of state organs (伪造国家机关公文罪).

33
     This is the direct translation of Jie’s name in Chinese.


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        89.     Research in China has identified additional civil lawsuits involving financial

misconduct in which Jie was named as a defendant or co-defendant.

                c.       Jie Has Represented Multiple Conflicting Accounts of His Educational
                         History

        90.     Conflicting information has been publicly reported about Jie’s education. For

example, in March 2016, Tianhe Union Holdings Limited reported that Jie had a degree in

Marketing from Lv’an Teachers College.34 In contrast, in a 2017 SEC filing by Tianci

International, Inc., it was reported that Jie obtained his bachelor’s degree in Business

Administration from Beijing College of Finance and Commerce in 2006. 35 Further, in a November

1, 2021 Form 8-K, Singularity reported to the SEC that Jie held a bachelor’s degree in Business

Management from Beijing Finance and Trade Technology College.36

        B.      Jie and Singularity Appoint John Levy as a Director of the Company But
                Omitted He Was a Director of CCC, the Entity at Which Jie Committed
                Numerous Financial Improprieties

        91.     On November 19, 2021, the Company filed with the SEC its Form 8-K signed by Jie.

In relevant part, the Form 8-K stated:

        Item 5.02 Departure of Directors or Certain Officers; Election of Directors;
        Appointment of Certain Officers; Compensatory Arrangements of Certain
        Officers.

        (c)     On November 18, 2021, the Registrant elected Mr. John F. Levy as an
        Independent Director, Chairperson of the Compensation Committee, a member of
        Nominating/Corporate Governance Committee, and a member of the Audit
        Committee, effective from November 18, 2021 until the Registrant’s annual
        meeting of the shareholders in 2022, and a successor has been duly elected and
        qualified or until his earlier resignation, removal from office, death or incapacity.

        Mr. Levy, 66 years old, is the Chief Executive Officer, board advisory of Westfield,
        NJ, a consulting firm. From September 2019 to April 2020, he served as the Chief
        Executive Officer of Sticky Fingers Restaurants, LLC. Mr. Levy currently serves

34
   https://www.sec.gov/Archives/edgar/data/1619870/000121390016012193/f8k033016_tianheunion.htm.
35
   https://www.sec.gov/Archives/edgar/data/1557798/000121390017000348/f10k2016_tianciinternational.htm.
36
   https://www.sec.gov/Archives/edgar/data/1422892/000121390021055789/ea149737-8k_sinoglobal.htm.


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           on the board of directors of two other public companies: Applied Minerals, Inc.,
           New York, NY (AMNL.OB); and Happiness Biotech Group Ltd., which is a
           company listed on Nasdaq Capital Market (NASDAQ: HAPP). From June 2016 to
           October 2021, Mr. Levy served as board member and Chair of Audit Committee of
           Washington Prime Group, Inc. (NYSE: WPG), which filed for protection under
           Chapter 11 of the United States Bankruptcy Code on June 13, 2021 and emerged
           from bankruptcy protection on October 21, 2021. He also served as board member
           and Chair of Governance Committee of Takung Art Co., Ltd. (OTCQB:TKAT),
           from March 2016 to June 2019. Mr. Levy is a Certified Public Accountant, and Mr.
           Levy is a graduate of the Wharton School of Business at the University of
           Pennsylvania, he received his MBA from St. Joseph's University in Philadelphia,
           Pennsylvania.

           The Board has determined Mr. John F. Levy is deemed to be independent under the
           definition provided by NASDAQ Listing Rule 5605(a)(2).

           Mr. Levy has (i) no arrangements or understandings with any other person pursuant
           to which he was appointed as a director, and (ii) no family relationship with any
           director or executive officer of the Registrant or any person nominated or chosen
           by the Registrant to become a director or executive officer.

           92.     The November 19, 2021 Form 8-K was false and misleading because it failed to

disclose Singularity’s newly-elected Director John Levy’s prior tenure from January 2013 through

December 2016 as a director of CCC, which failed amidst detailed allegations that Jie, as alleged

above, when he was an executive and shareholder in CCC, misappropriated assets.

           93.     On February 23, 2023, Levy tendered his resignation from his positions as a member

of the Company’s Board and the Audit Committee, the Compensation Committee, and the

Nominating/Corporate Governance Committee of the Board, effective immediately.

           C.      Singularity Claims to Transform Its Ailing Global Shipping and Logistics
                   Business to a Cryptocurrency Mining and Hardware Development Business

           94.     Singularity’s transformation from a shipping and logistics company to a

cryptocurrency company began with a February 3, 2021 announcement by Singularity. 37

           95.     On February 3, 2021, Singularity filed a Form 8-K with the SEC, signed by



37
     https://www.sec.gov/Archives/edgar/data/1422892/000121390021006399/ea134547-8k_sino.htm.


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Defendant Cao, incorporating a February 2, 2021 press release announcing the Company’s

transformation into a cryptocurrency and bitcoin mining firm, stating:38

           Sino-Global Shipping America, Ltd. (NASDAQ: SINO) (“Sino-Global”, the
           “Company” or “we”), a non-asset based global shipping and freight logistical
           integrated solutions provider, announced today that the newly appointed Chief
           Operating Officer Mr. Lei Nie and Chief Technology Officer Mr. Xintang You will
           spearhead the Company’s effort to enter Bitcoin mining.

           As Sino-Global evaluates its strategy for 2021 and beyond, the planned Bitcoin
           mining expansion follows a series of steps in preparation. The plan utilizes
           leadership team members who specialize in information technology, Blockchain,
           cryptocurrency mining operations and more. Given the Company’s plan to enhance
           the traditional logistics service platform through leveraging innovative
           technologies, the Company is excited to explore opportunities created by current
           market conditions and enter the cryptocurrency sector.

           We are thrilled to expand to Bitcoin mining,” commented Mr. Lei Cao, Chief
           Executive Officer of Sino-Global. “The management team is ready to take our
           business to the next level by executing this expansion strategy. We believe that
           Sino-Global is well-positioned to continue growing its core business while
           expanding to Bitcoin mining operations.

           96.     On this news, the price of Singularity’s stock rose from $5.58 to $5.93 on

significant volume.

           97.     On February 9, 2021, Singularity issued a press release, incorporated into a Form 8-

K filed with the SEC, signed by Defendant Cao, announcing that the Company had: 39

           entered into a securities purchase agreement (the “Purchase Agreement”) with the
           investors specified on the signature page thereto (the “Investors”) pursuant to which
           the Company agreed to sell to the Investors, and the Investors agreed to purchase
           from the Company, in a registered direct offering, an aggregate of 3,655,000 shares
           (the “Shares”) of the common stock of the Company, no par value per share
           (“Common Stock”), at a purchase price of $7.80 per Share, for aggregate gross
           proceeds to the Company of $28,509,000.

           98.     This announcement was false and misleading because the investments had been

procured through false and misleading statements that the transactions were valid. In fact,


38
     https://www.sec.gov/Archives/edgar/data/1422892/000121390021006399/ea134547-8k_sino.htm.
39
     https://www.sec.gov/Archives/edgar/data/1422892/000121390021008047/ea135111-8k_sinoglobal.htm.


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Singularity was in per se breach at the time that it entered those transactions, and they were based

on false representations regarding the Company’s purported cryptocurrency business.

        D.       Singularity, Jie, Shan, Pan, and Cao Induce Private Investment in Singularity
                 Based on False Claims Regarding the Company’s Sham Cryptocurrency
                 Business

        99.      On February 10, 2021, Singularity filed a Prospectus with the SEC in which it

announced that it planned to capitalize on its purported shift to cryptocurrency. Specifically, Cao

announced that the Company had entered into agreements to sell 3,655,000 shares of unregistered

shares of Singularity stock, raising $28,5000,000 with the express purpose of “investment in

information technology and software and hardware in connection with our new cryptocurrency

initiative.”40

        100.     On February 10, 2021, Singularity also filed a Form 8-K with the SEC, signed by

Cao, in which it announced the “closing of its previously announced registered direct offering and

concurrent private placement with certain accredited investors to purchase a total of

$13,599,792.50 of its common stock and warrants.”41

        101.     On February 11, 2021, Singularity filed a Form 8-K with the SEC, signed by Cao,

in which it “announc[ed] the closing of its previously announced registered direct offering and

concurrent private placement with certain accredited investors to purchase a total of $28,509,000

of its common stock and warrants.”42

        102.     Upon information and belief, the accredited investors referred to in the February 10

and 11, 2021 8-Ks included Hexin Global Limited, Viner Total Investments Funds, Jinhe Capital

Limited, St. Hudson Group LLC, Imperii Strategies LLC, Isyled Technology Limited, and



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   https://www.sec.gov/Archives/edgar/data/1422892/000121390021008067/ea135095-424b5_sinoglobal.htm.
41
   https://www.sec.gov/Archives/edgar/data/1422892/000121390021008032/ea135093-8k_sinoglobal.htm.
42
   https://www.sec.gov/Archives/edgar/data/1422892/000121390021008443/ea135223-8k_sinoglobal.htm.


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Hsqynm Family Inc. Singularity’s announcement regarding the private investments was false and

misleading and omitted the fact that Singularity, Jie, Shan, Pan, and Cao had induced the accredited

investors to make the investments on the basis of false claims that Singularity expected substantial

growth based on its new cryptocurrency business which, as alleged herein, the Singularity

Defendants knew was untrue and that the underlying investment contracts were invalid and that

Singularity was in breach of them at the time it entered into those contracts.

           103.    On this news, the price of Singularity’s common stock rose substantially from an

opening price of $7.40 on February 10, 2021, to close at $7.78, and continued to rise daily

thereafter, closing at $10.81 per share on February 22, 2021.

           104.    On February 16, 2021, Singularity filed a Registration Statement with the SEC

seeking to vastly accelerate its efforts to raise cash based on its cryptocurrency transformation and

sell “any combination of debt securities, shares of common stock, preferred stock, warrants, rights,

share purchase contracts, share purchase units or units having an aggregate initial offering price

not exceeding $200,000,000.”43

           105.    On this news, during the period from February 9, 2021 to February 17, 2021, the

Company’s common stock price rose from $9.10 to $9.47.

           106.    Singularity’s announcements, as alleged above, that it planned to sell unregistered

shares of common stock based on its “new cryptocurrency initiative” were false and misleading

and related proposed sales of unregistered securities, common stock, preferred stock, warrants,

rights, share purchase contracts, share purchase units, or units announced between February 9

through 16, 2021, were false and misleading because Singularity and Cao omitted that the

Company’s cryptocurrency transition was a sham designed to inflate its stock, designed to



43
     https://www.sec.gov/Archives/edgar/data/1422892/000121390021009665/ea135668-s3_sinoglobal.htm.


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facilitate related party transactions, was based on related party transactions and other fictious

transactions and companies, and that it could not execute on its cryptocurrency initiatives.

           E.      Singularity Promotes the Launch of Its Cryptocurrency Mining Operations

           107.    On March 3, 2021, Singularity filed a Form 8-K with the SEC, signed by Cao,

which stated that the Company had entered into an agreement to purchase 2,783 digital currency

operation servers for $4.6 million. In a press release incorporated into the 8-K, Cao stated: 44

           We are excited to announce the purchase order, which demonstrates the efficiency
           of our management team’s ability to pivot and execute a new venture into
           cryptocurrencies. To provide transparency on the mining operations and daily
           probabilities to our shareholders, the Company will disclose the digital currency
           wallet addresses once they are available. We are confident with the opportunity
           presented to us from the digital currency industry and our capability to capture the
           growth in furtherance of our strategy to maximize our shareholder value.

           108.    On this news, Singularity’s common stock price rose from $5.40 on March 2, 2021

to $5.93 on March 3, 2021 on heavy volume.

           109.    On September 21, 2021, Singularity filed a Form 8-K with the SEC and issued a

press release in which it announced that it had restructured its March 2, 2021 agreement with Hebei

Yanghuai Technology Co., Ltd. to buy 2,783 digital currency (i.e., crypto) mining servers from

Yanghuai. The press release stated that “[t]he deal was part of Sino-Global’s expansion into the

cryptocurrency market.” In addition, Defendant Cao stated that Singularity “plan[s] to switch to a

direct mining business rather than contracting with third parties in order to have greater control

over this growth segment and to optimize our gross margin.” 45

           110.    On this news, Singularity’s common stock price rose from an opening price of $2.47

on September 21, 2021 to close at $2.58 on September 22, 2021.

           111.    Singularity’s announcement was false and misleading because the Company neither


44
     https://www.sec.gov/Archives/edgar/data/1422892/000121390021013073/ea136933-8k_sinoglob.htm.
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     https://www.sec.gov/Archives/edgar/data/1422892/000121390021048996/ea147738-8k_sinoglobal.htm.


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intended nor had the capability to meaningfully engage in a direct cryptocurrency mining business.

Singularity did not possess the knowledge or expertise to develop proprietary crypto mining

machines or to develop crypto mining operations to scale, and did not have the resources or personnel

necessary to implement the shift to the purported cryptocurrency business.

        F.      Singularity Changes Its Name From Sino-Global and Touts the Launch of Its
                New Website to Continue to Perpetuate the Perception That Its Shift to
                Cryptocurrency is Legitimate

        112.    On January 5, 2022, the Company issued a Form 8-K, filed with the SEC, in which

it disclosed that it had changed its name from Sino-Global Shipping America, Ltd. to Singularity

Future Technology Ltd. in order align the Company with the cryptocurrency markets.46

        113.    On March 28, 2022, Singularity announced the launch of its new website to highlight

its transition to cryptocurrency:47

        Great Neck, N.Y., March 28, 2022 /PRNewswire/ -- Singularity Future Technology
        Ltd. (the “Company”) (NASDAQ: SGLY) today announced the formal launch of its
        new corporate website. Singularity Future Technology’s website is designed to better
        highlight the Company’s successful growth and momentum in cryptocurrency,
        Blockchain and other new markets. In addition to providing resources to customers,
        partners and investors, the website is designed to showcase the Company’s
        expanding business portfolio, services and solutions whilst highlighting its long-term
        strategy and leadership vision.

        Singularity Future Technology, a Nasdaq-listed company, is revolutionizing
        cryptocurrency, Blockchain and other new markets by focusing on innovative
        solutions for globally interconnected networks and establishing state-of-the-art
        crypto mining pools. As the technology landscape constantly shifts, the Company
        strives to provide its clients frictionless involvement and a growth-enabling
        ecosystem in this ever-changing space.

        Chief Executive Officer, Mr. Yang “Leo” Jie, commented, “We have been
        aggressively expanding in rapid growth areas and are excited with the launch of our
        new corporate website, which aligns with our business strategy and leadership vision
        for the fast evolving cryptocurrency, Blockchain and other new markets we serve.

46
  https://www.sec.gov/Archives/edgar/data/1422892/000121390022000636/ea153497-8k_sinoglobal.htm.
47
   https://www.prnewswire.com/news-releases/singularity-future-technology-formally-launches-new-website-30151
1368.html. A review the SEC’s website did not reveal the filing of an accompanying Form 8-K incorporating the
Company’s March 28, 2022 press release.


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           Our team designed the sleek new site to be informative and scalable as we continue
           to drive growth. The timing made sense for us to formally launch now given our
           recent high profile announcement to enter the greenfield distributed storage market,
           which we expect will build on our successful bitcoin mining asset and Blockchain
           businesses. We expect our new corporate website will also serve as an excellent
           resource to help customers and partners better understand the breadth of our
           capabilities, while also serving as a powerful sales engine for our team.”

           114.     Archived captures of Singularity’s newly launched website as it existed on March

28,        2022        can      be       viewed   at:        https://web.archive.org/web/20220328192817

/https://www.singularity.us/.

           115.     On this news, Singularity’s common stock price rose from an opening price of

$11.53 on March 28, 2022 to close at $11.90. In the days that followed, the stock continued to

climb steadily, closing at $14.02 on March 31, 2022.

           116.     Singularity’s announcement, description, and the content of its newly launched

website as of March 28, 2022 were false and misleading because the Company neither intended

nor had the capability to meaningfully engage in a direct cryptocurrency mining business.

           117.     Singularity has since abandoned entirely its fraudulent foray into cryptocurrency and

makes no reference to any crypto related business, instead describing its business on its current

website as:48

           We are a Nasdaq listed company committed to creating an eco-friendly environment
           in the shipping industry. Our focus is on developing sustainable practices in our
           shipping operations, with our warehouse located in Houston, Texas for efficient
           shipping and timely delivery to our clients. As the shipping industry is constantly
           evolving, we are dedicated to providing our clients with a seamless and growth-
           oriented ecosystem. Our aim is to facilitate frictionless involvement and to remain at
           the forefront of industry changes while implementing eco-friendly practices in our
           operations.

           118.     Singularity’s Form 10-Q for the period ended Q1 2023 confirms that it has exited the

cryptocurrency business stating: “The Company ceased to sell crypto-mining equipment since


48
     https://www.singularity.us/about.


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January 1, 2023. For the three months ended March 31, 2023, the Company did not sell crypto-

mining machines.”49

        G.      Singularity and Jie Form a Sham Joint Venture With Golden Mainland to
                Become a Leader in Cryptocurrency Mining

        119.    On April 11, 2022, Singularity and Golden Mainland 50 issued a press release

announcing the formation of a Bitcoin mining site joint venture (“Mainland JV”). 51

        120.    In a Form 8-K, signed by Jie, filed with the SEC on April 14, 2022, Singularity

represented that:52

       The joint venture (the “Joint Venture”) plans to invest up to $250 million over time to
       build a total of 1GW of mining sites in Texas, Ohio, and other states, with capacity for
       up to 300,000 Bitcoin miners, each with 3,400 watts/hour in energy consumption.
       Singularity is a global logistics and blockchain technology company engaged in
       shipping, chartering, logistics services and technology services. Golden Mainland is a
       company engaged in the provision of electricity services in North America.

       Under the terms of the Joint Venture, Singularity will own 51%, and Golden Mainland
       will own 49%, with each party contributing capital in accordance with its ownership
       interest. Singularity expects to make its initial capital contribution of approximately
       $10 million to the Joint Venture from available cash.

        121.    Defendant Jie, then CEO of Singularity, touted the Mainland JV, stating: “We are

excited to partner with Golden Mainland in this Joint Venture. We believe that investing in and

building out sites with Bitcoin mining capacity will provide a platform with the scale to support

the demand levels in the industry.”53

        122.    Singularity’s purported joint venture with Golden Mainland was a sham because

the company does not appear to exist and, therefore, the representations of Jie and Singularity

regarding the Mainland Joint Venture were materially false and misleading.



49
   https://www.sec.gov/Archives/edgar/data/1422892/000121390023039819/f10q0323_singularity.htm.
50
   http://www.globalmainland.com/index.html.
51
   https://www.sec.gov/Archives/edgar/data/1422892/000121390022019821/ea158458ex99-1_singularity.htm.
52
   https://www.sec.gov/Archives/edgar/data/1422892/000121390022019821/ea158458-8k_singularity.htm.
53
   https://www.sec.gov/Archives/edgar/data/1422892/000121390022019821/ea158458ex99-1_singularity.htm.


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        123.    By comparison, the largest Bitcoin miner in the United States, publicly-traded Riot

Platforms, Inc. (“Riot”), states:54

        Riot’s Rockdale Facility has a total power capacity of 750 MW, with 450 MW
        currently developed. This facility is believed to be the largest single facility, as
        measured by developed capacity, in North America for Bitcoin mining. The
        Rockdale Facility is currently undergoing a substantial expansion project that is
        nearly doubling the site’s Bitcoin mining capacity to 700 MW. This expansion
        includes four new buildings, totaling approximately 240,000 sq ft. and adding 400
        MW of capacity. Once this expansion is complete, it is expected that Riot’s Rockdale
        Facility will be the largest Bitcoin mining facility in the world, as measured by
        developed capacity.

        124.    Riot reports that it operates approximately 96,000 bitcoin miners. By comparison,

the Joint Venture Agreement for the Mainland JV stated that “the general purposes of the Joint

Venture is a total investment of over $250 million to build a total of 1GW of mining sites in Texas,

Ohio, and other states, with a full load of 300,000 bitcoin miners in 3400 watt.” 55 To be exact,

300,000 bitcoin miners at 3400 watts would require 1020 MW, just over 1 GW. As such, even

after Riot’s planned expansion, the Mainland JV would be – by a significant margin – the largest

Bitcoin mining facility in the world.

        125.    As with Singularity’s other joint ventures, according to the April 10, 2022 Joint

Venture Agreement between Singularity and Golden Mainland, the address of the Joint Venture

was Singularity’s headquarters: 98 Cutter Mill Road, Suite 322, Great Neck, New York 11021. 56

        126.    The Mainland JV Agreement was executed by Defendant Jie (with notice to

Singularity to Defendant Shan) and Haiyao Jiang whom Georgia Secretary of State records suggest

had formed Golden Mainland just six months before and used a gmail.com address:57




54
   https://www.riotplatforms.com/bitcoin-mining/whinstone-u-s .
55
   https://www.sec.gov/Archives/edgar/data/1422892/000121390022019821/ea158458ex10-1_singularity.htm.
56
   Id.
57
   Id.


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        127.    Golden Mainland purports to “own[] nuclear power, hydropower, wind energy, solar

energy, geothermal energy, biomass energy, etc.” with “access to 10+GW of power resources, and

has diversified investment portfolios in the United States, Canada and other countries.”58 1 GW alone

is potentially enough to power 876,000 households for one year if they collectively consume 10,000

kWh each or a medium sized city, yet Golden Mainland appears to use a gmail address even though

the company’s website does list a single email address: contact@globalmainland.com.59 And its

physical location listed in the Mainland Joint Venture Agreement does not exist according to Google

Maps and a search of the Fulton County Board of Assessors.60




58
   http://www.globalmainland.com/index.html.
59
   http://www.globalmainland.com/contactUs.html.
60
   https://iaspublicaccess.fultoncountyga.gov/search/commonsearch.aspx?mode=address.


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          128.    The Mainland JV is a sham.

          129.    According to the “Whois” database, a clearinghouse for Internet domain registration,

the Golden Mainland’s website, goldenmainland.com, was registered on April 9, 2022, two days

before Singularity’s announcement of the Mainland JV:61




61
     https://www.godaddy.com/whois/results.aspx?itc=dlp_domain_whois&domain=globalmainland.com.


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       130.    Analysis of the Whois results above reveal that Golden Mainland’s website was

registered by Domains By Proxy LLC (https://www.domainsbyproxy.com/), a service that is

designed to mask the identity of the person or entity who owns and operates a particular website.

       131.    Golden Mainland’s business was registered with the Georgia Secretary of State on

October 25, 2021, approximately six months before the joint venture with Singularity was

announced.

       132.    The May 5, 2022 Peabody Report, which, according to the Mahon Affirmation,

provides a significant roadmap to the red flags and the checkered history of Singularity, also

provides the results of its search of the Georgia Secretary of State’s records for Golden Mainland.

That search identified Haiyao Jiang as the CEO, CFO, and Secretary of Global Mainland, whom it

could not locate. Peabody reported:

       Even after significant effort, we were not able to find a trace of Haiyao Jiang. We
       find it interesting that Jiang is able to serve as CEO, CFO, and Secretary of the
       company.




       133.    As of August 2023, Global Mainland’s CEO, CFO, and Secretary have all changed

from Haiyao Jiang to Myles Reeves with no announcement or explanation by Global Mainland, no

comment by Singularity, or any other announcement or discussion that could be identified through

reasonable investigation:




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           134.     Golden Mainland lists as its “principal office address” with the Georgia Secretary of

State, 2751 Buford Hwy NE Ste 404, Atlanta, GA, 30324. Upon information and belief, however,

that      address     belongs     to    the    Dulce    M.   Garcia     State   Farm     Agency.     See

https://www.dulceginsurance.com/.

           135.     Golden Mainland’s website provides a different address, 9040 Roswell Road, Suite

500, Atlanta, GA, 30350.62 However, that too is not Golden Mainland’s address. Rather, it is the

address of the law firm of O’Daniel McDonald, which appears to serve as Golden Mainland’s

Registered Agent on behalf of InCorp Services, Inc., as listed on Golden Mainland’s business search

results on the Georgia Secretary of State website above:




62
     http://www.globalmainland.com/contactUs.html.


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       136.    Golden Mainland’s website states that the company “owns nuclear power,

hydropower, wind energy, solar energy, geothermal energy, biomass energy, etc. The company has

access to 10+GW of power resources and has diversified investment portfolios in the United States,

Canada and other countries.” Searches in the United States and Canada for proof that Golden

Mainland owns any of the energy assets claimed on its website or that it or Singularity have

registered to do business in Texas or Ohio yielded no results.

       H.      Singularity Forms Thor Miner, Inc., a Sham Company, Purporting to Build
               Proprietary Cryptocurrency Mining Machines Which Machines It Purports
               to Sell to SOS Without Revealing That Jie’s Wife Was an Officer of SOS

       137.    In the Fall of 2021, Singularity embarked on a scheme to generate the appearance of

a massive success just months after announcing its abrupt shift to cryptocurrency, purporting to have

entered into a $200,000,000 contract for the sale of its “proprietary” crypto mining computers or

“rigs” with HighSharp as the exclusive designated supplier of high-performance computing chips

for a joint venture named Thor Miner, Inc.

       138.    On October 4, 2021, in connection with its name change from Sino-Global Shipping

America, Ltd. to Singularity Future Technology Ltd., and its expansion into the bitcoin mining

industry, the Company issued a press release in which it announced that Singularity had entered into




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a Strategic Alliance Agreement (the “Thor Agreement”) with HighSharp to establish a joint venture

for collaborative engineering, technical development, and commercialization of a proprietary

cryptocurrency mining machine under the brand name Thor, with exclusive rights covering design

production, intellectual property, branding, marketing, and sales. The joint venture, named Thor

Miner, Inc. (“Thor Joint Venture”), was 51% owned by the Singularity and 49% owned by

HighSharp, a fabless integrated circuit designer that provides advanced semiconductor solutions for

supercomputing hardware, based in China. In the press release Cao represented:63

        This is a major strategic development for Sino-Global with the potential for
        significant long-term financial benefit. The name we chose underscores our JV’s
        considerable combined resources, market knowledge and capacity to address unmet
        demand for high-quality, reliable digital mining machines. Recent crypto policy
        changes combined with ongoing global component shortages have served to
        remove valuable digital mining production capacity. We intend to fill that vacuum
        and plan to move aggressively as we build greater value for Sino-Global and all
        shareholders.

        139.    Singularity’s October 4, 2021 press release was incorporated into an October 4, 2021

Form 8-K, signed by Cao, filed with the SEC.64 In the press release, Singularity announced the

formation of the Thor Joint Venture to the public. The Company explained, in part, that “The JV’s

scope will encompass collaborative engineering, technical development and commercialization of a

proprietary bitcoin mining machine under the name Thor, with exclusive rights covering design

production, intellectual property, branding, marketing and sales.”65

        140.    Defendant Cao, then CEO of Singularity, stated: “This is a major strategic

development for Sino-Global with the potential for significant long-term financial benefit. The name

we chose underscores our JV’s considerable combined resources, market knowledge and capacity to




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   https://www.sec.gov/Archives/edgar/data/1422892/000101376221000102/ea148358ex99-1_sinoglobal.htm.
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   https://www.sec.gov/Archives/edgar/data/1422892/000101376221000102/ea148358-8k_sinoglobal.htm.
65
   https://www.sec.gov/Archives/edgar/data/1422892/000101376221000102/ea148358ex99-1_sinoglobal.htm.


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address unmet demand for high-quality, reliable digital mining machines.”66

           141.   On this news, Singularity’s common stock price rose from $2.31 on October 3, 2021

to close at $2.41 on October 4, 2021 on extremely high volume, trading 1,513,879 shares. By

contrast, up to that time, Singularity’s common stock had not traded more than 1 million shares in a

single trading day since August 26, 2021. The stock continued to climb in the following days, closing

at $2.73 on October 13, 2021.

           142.   The Thor Agreement established the Thor Joint Venture for the purpose of

manufacturing, marketing, and selling a bitcoin mining machine under brand name “Thor.”67

           143.   The Singularity Defendants’ statements regarding Thor Miner were false and

misleading because they had not developed a proprietary cryptocurrency mining machine and, even

if they had, they were aware that the effects of COVID-19 and the global semiconductor shortage

would make it impossible for them to provide such machines in sufficient quantity and in a

commercially reasonable time.

           144.   According to Defendant Shan, HighSharp purported to be in the business of block-

chain technology, hardware, software technology management, and cloud computing.68

           145.   Singularity and HighSharp agreed that Thor Miner would have its principal place of

business at 98 Cutter Mill Road, Suite 322, Great Neck, New York 11021, the headquarters of

Singularity.69 The COO of Thor is Defendant Shan, who simultaneously served as the COO of




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     Id.
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sFFcg==&
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   https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=BlBuo9tadJxal0nxTsFFcg==&
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Singularity.

            146.     At that time, Cao and Singularity specifically identified their awareness of the world-

wide chip shortage and touted their ability to overcome it. A Singularity 8-K dated October 4, 2021

states, “Recent crypto policy changes combined with ongoing global component shortages have

served to remove valuable digital mining production capacity. We intend to fill that vacuum and plan

to move aggressively as we build greater value for Sino-Global and all shareholders.” Singularity

implied that it could overcome the chip shortage because: “Highsharp will be the exclusive

designated supplier of high-performance computing chips for the JV.”70

            147.     In the October 4, 2021 press release, Singularity explained that “[t]he JV will

develop, and be exclusively licensed to manufacture, market and sell the Thor Bitcoin Mining

Machine worldwide. The JV will own all intellectual property rights related to the Thor Bitcoin

Mining Machine, including without limitation any modifications and improvements thereof. The JV

plans to file a utility patent application with the United States Patent and Trademark Office pursuant

to United States’ patent laws and the Patent Cooperation Treaty (“PCT”) for its planned Thor Bitcoin

Mining Machine.”71

            148.     A reasonable search for the purported utility patent yielded no results. Because

Singularity’s press release listed both an international (PCT) application and a US application, a

search of the World Intellectual Property Organization (WIPO) patent search engine



70
     Singularity stated:

            The JV will develop, and be exclusively licensed to manufacture, market and sell the Thor Bitcoin Mining
            Machine worldwide. The JV will own all intellectual property rights related to the Thor Bitcoin Mining
            Machine, including without limitation any modifications and improvements thereof. The JV plans to file a
            utility patent application with the United States Patent and Trademark Office pursuant to United States’ patent
            laws and the Patent Cooperation Treaty (“PCT”) for its planned Thor Bitcoin Mining Machine.

https://www.sec.gov/Archives/edgar/data/1422892/000101376221000102/ea148358ex99-1_sinoglobal.htm.
71
   Id.


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PATENTSCOPE (https://www.wipo.int/patentscope/en/), which indexes both US and international

applications, was conducted. The reasonable search yielded the following results:




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       149.    Barely three months after announcing the formation of the Thor Joint Venture, in a

January 14, 2022 Form 8-K, Singularity purported to have achieved massive success, having secured

a $200,000,000 contract with SOS:

       On January 11, 2022, the Company filed a Current Report on Form 8-K to report
       that the Company’s joint venture, Thor Miner Inc (“Thor”), entered into a Purchase
       and Sale Agreement with SOS Information Technology New York Inc. (the
       “Buyer”). Pursuant to the Purchase and Sale Agreement, Thor agreed to sell and
       the Buyer agreed to purchase certain cryptocurrency mining hardware and other
       equipment. The aggregate amount of the Purchase and Sale Agreement is
       $200,000,000, which is expected to be completed under separate purchase orders.
       Thor and the Buyer agreed that the Buyer shall make payment equal to 50% of the
       total purchase price within 5 days after the execution of the Purchase and Sale
       Agreement, and the remaining 50% for each order shall be paid at least seven (7)
       calendar days before the shipment.

       Subsequently, Thor and the Buyer agreed that the Buyer shall make payment equal
       to 50% of the total purchase price of each order within 5 days, and the remaining
       50% for each order shall be paid at least seven (7) calendar days before the
       shipment. The first order under the Purchase and Sale Agreement Thor received
       was a $80,000,000 order placed on January 10, 2022. As of the date of this report,
       Thor has already received the $40,000,000 for the first order. 72

       150.    The SOS Agreement with Thor Miner provided that SOS would purchase up to

approximately 44,792 rigs for $200,000,000 (approximately $4,465.08/rig). The purchase was

agreed to be made in installments, which would be based upon orders made by SOS and agreed to

by Singularity. Signing the SOS Agreement on behalf of Defendant Thor was Defendant Shan, with

her title indicated as “COO.”73 Defendant Shan was listed as the Thor Miner contact on a purchase

order, with her “Sino-Global” email address.

       151.    Xiaohuan and Jie are husband and wife. Xiaohuan also served on Singularity’s Board

of Directors until November 1, 2021,74 when she resigned75 − the same day Jie was appointed CEO.


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   https://www.sec.gov/Archives/edgar/data/1422892/000121390022002157/ea154045-8ka1_singul.htm.
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system=prod.
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   https://www.sec.gov/Archives/edgar/data/1422892/000121390022010809/def14a0322_singularity.htm.
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   https://www.sec.gov/Archives/edgar/data/1422892/000121390021055789/ea149737-8k_sinoglobal.htm.


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Singularity’s Form 10-K for the year ended June 30, 2021 states that Xiaohuan was currently

employed as the Vice President of SOS. As alleged above, SOS is the same entity that made a $200

million purchase order of crypto mining rigs from Thor Miner, Singularity’s joint venture with

HighSharp.

        152.    Singularity, Jie and Xiaohuan omitted and failed to disclose that Xiaohuan, as VP of

SOS, was married to Jie, CEO of Singularity and, therefore, the transaction was an undisclosed

related party transaction.

        153.    On January 10, 2022, SOS transmitted its first purchase order pursuant to the SOS

Agreement to purchase 17,917 Thor Mining Machines for $80,000,000.76

        154.    On January 11, 2022, SOS wired Thor $40,000,000 pursuant to the terms of the SOS

Agreement, which represented its obligation to pay 50% of the full payment of the first order within

5 days.77

        155.    On January 14, 2022, Singularity amended its Form 8-K filing, attaching the SOS

Agreement (without its accompanying exhibits) as Exhibit 10.1 and reported:

        Amendment to the Current Report on Form 8-K filed on January 11, 2022

        As previously disclosed, on January 11, 2022, the Company filed a Current Report
        on Form 8-K to report that the Company’s joint venture, Thor Miner Inc (“Thor”),
        entered into a Purchase and Sale Agreement with SOS Information Technology
        New York Inc. (the “Buyer”). Pursuant to the Purchase and Sale Agreement, Thor
        agreed to sell and the Buyer agreed to purchase certain cryptocurrency mining
        hardware and other equipment. The aggregate amount of the Purchase and Sale
        Agreement is $200,000,000, which is expected to be completed under separate
        purchase orders. Thor and the Buyer agreed that the Buyer shall make payment
        equal to 50% of the total purchase price within 5 days after the execution of the
        Purchase and Sale Agreement, and the remaining 50% for each order shall be paid
        at least seven (7) calendar days before the shipment.


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system=prod.


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           Subsequently, Thor and the Buyer agreed that the Buyer shall make payment equal
           to 50% of the total purchase price of each order within 5 days, and the remaining
           50% for each order shall be paid at least seven (7) calendar days before the
           shipment. The first order under the Purchase and Sale Agreement Thor received
           was a $80,000,000 order placed on January 10, 2022. As of the date of this report,
           Thor has already received the $40,000,000 for the first order. 78

           156.    On February 14, 2022, Singularity filed its Form 10-Q results for the quarter ended

December 31, 2021. The Form 10-Q was signed and separately certified by Jie and Pan pursuant to

the Sarbanes-Oxley Act of 2002—attesting to the accuracy and truthfulness of the information

contained therein.79

           157.    The February 14, 2022 Form 10-Q downplayed the serious issues with the

Company’s internal controls, by stating the following, in pertinent part:

           V. Item 4. Controls and Procedures

           Evaluation of Disclosure Controls and Procedures

           We maintain controls and procedures designed to ensure that information required
           to be disclosed by the issuer in the reports that it files or submits under the Act (15
           U.S.C. 78a et seq.) is recorded, processed, summarized and reported, within the
           time periods specified in the Securities and Exchange Commission’s rules and
           forms. Disclosure controls and procedures include, without limitation, controls and
           procedures designed to ensure that information required to be disclosed by an issuer
           in the reports that it files or submits under the Act is accumulated and
           communicated to the issuer’s management, including its principal executive and
           principal financial officers, or persons performing similar functions, as appropriate
           to allow timely decisions regarding required disclosure.

           As of December 31, 2021, we carried out an evaluation, under the supervision of
           and with the participation of its management, including our Chief Executive Officer
           and Chief Financial Officer, of the effectiveness of the design and operation of our
           disclosure controls and procedures. Based on the foregoing evaluation, our Chief
           Executive Officer and Chief Financial Officer concluded that our disclosure
           controls and procedures (as defined in Rules 13a-15(e) and 15d-15(e) under the
           Securities Exchange Act of 1934, as amended (the “Exchange Act”)) were not
           effective and adequately designed to ensure that the information required to be
           disclosed by us in the reports we file or submit under the Exchange Act is recorded,

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     https://www.sec.gov/Archives/edgar/data/1422892/000121390022002157/ea154045-8ka1_singul.htm.
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     https://www.sec.gov/Archives/edgar/data/1422892/000121390022007553/f10q1221_singularity.htm.


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       processed, summarized and reported within the time periods specified in the
       applicable rules and forms, and that such information was accumulated and
       communicated to the management, including Chief Executive Officer and Chief
       Financial Officer, in a manner that allowed for timely decisions regarding required
       disclosure. The assessment stemmed from the following material weaknesses –

                  Lack of segregation of duties for accounting personnel who prepared and
                   reviewed the journal entries; and

                  Lack of a full time U.S. GAAP personnel in the accounting department to
                   monitor the recording of the transactions.

       We have taken certain actions to remediate the material weakness related to our
       lack of U.S. GAAP experience. We have engaged an outside CPA firm with U.S.
       GAAP knowledge and SEC reporting experience to supplement our current internal
       accounting personnel and assist us in the preparation of our financial statements to
       ensure that our financial statements are prepared in accordance with U.S. GAAP.


         Changes in Internal Control over Financial Reporting.

       There were no changes in our internal control over financial reporting (as defined
       in Rule 13a-15(f) of the Exchange Act) during the three months ended December
       31, 2021 that have materially affected, or are reasonably likely to materially affect,
       our internal control over financial reporting.

       158.       Singularity failed to disclose that: (i) it knew that Thor could not complete the SOS

order; (ii) the transaction was an interested party transaction because Defendant Xiaohuan, the wife

of Defendant Jie, was the Vice President of SOS; and (iii) that based on a reasonable search there is

no evidence that the planned utility patent application was filed.

       159.       On April 5, 2022, Defendant Shan sent a debit notice to SOS which provided that

4,000 mining machines would be available to ship in one month and instructed SOS to wire the

balance of funds in the amount of $8,930,000 to Thor.80 On April 11, 2022, SOS wired the

$8,930,000 to Thor’s bank account.81 Therefore, by April 11, 2022, SOS had fully paid for 4,000 of


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&system=prod.


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the 17,917 rigs in its January 10, 2022 order.

        160.    Thor Miner represented that the first 4,000 rigs would be delivered to SOS between

May 27, 2022 and June 18, 2022.82

        161.    On May 5, 2022, Hindenburg Research and Peabody Street Research issued their

reports to the public, indicating, among other things, that Singularity’s Thor Joint Venture was a

sham.

        162.    On May 6, 2022, alarmed by the contents of the Hindenburg Report, counsel for SOS

contacted Defendant Shan to request assurances regarding Thor’s ability to perform the SOS

Agreement and to deliver the promised 4,000 units.83

        163.    On May 8, 2022, Defendant Shan assured counsel for SOS that Thor believed that it

would perform the original agreement between the parties.

        164.    On May 20, 2022, SOS requested a further update on the status of delivery. On May

23, 2022, Shan promised that Thor would deliver 120 of the 4,000 rigs over the coming weekend.

No rigs were delivered as promised. Between January 2022 and June 6, 2022, Thor Miner delivered

just 5 machines.

        165.    Ultimately, after a series of unfulfilled promises and missed deliveries, Thor

delivered just 120 rigs to SOS on June 6, 2022, shortly before the deadline by which it was to deliver

4,000 units. On or about June 10, 2022, Thor delivered 216 rigs to SOS. On or about July 7, 2022,

SOS received 700 rigs. On August 8, 2022, Thor delivered 208 rigs. On August 9, 2023, Jie resigned

from his position as CEO and Director of Singularity and the Board after the Board recommended

that he be suspended immediately. On or about August 11, 2022, Thor delivered 192 rigs to SOS.


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system=prod.


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On or about October 28, 2022, SOS received its last ever shipment from Thor, consisting of 512 rigs,

for a total of 1,948 rigs delivered as of October 28, 2022 – or less than one half of the original order

delivered.

        166.    Notwithstanding repeated demands for delivery of the remaining rigs to fulfill the

4,000 rigs promised to be delivered within a month of the April 5, 2022 debit notice, and for which

SOS had paid in full, no additional rigs were delivered, and the Singularity Defendants failed to

cause Singularity or Defendant Thor to refund SOS’s previous payments.

        167.    On December 9, 2022, SOS sued Thor and Singularity, alleging that, as of that time,

Thor had “not completed delivery of the remaining 2,052 rigs to complete the 4,000 rigs it promised

to deliver in its April 15, 2022” notice, and Thor had failed to return to “SOS the $40,232,180 excess

payment” made to Thor for rigs that were never delivered.84 Of the 1,948 rigs that Thor delivered to

SOS, 1,522 did not meet the technical specifications set forth in the SOS Agreement.

        168.    On December 12, 2022, Shan, then COO of Singularity, acknowledged that nearly

10 months after SOS placed its first order, between April 2022 and October 28, 2022, Thor had only

managed to fulfill just over 10% of SOS’s order, having delivered “1,960 bitcoin mining machines

on a rolling basis”85 of the 17,917 in the SOS Agreement and less than half in the initial order of

January 11, 2022. In support of its Memorandum of Law in Opposition to Plaintiff’s Order to Show

Cause for a Temporary Restraining Order, and Pre-Judgment Order of Attachment (“TRO

Memorandum”) filed in SOS Information Technology New York, Inc. v. Thor Miner Inc., et al., Index

No. 65735/2002 (Sup. Ct., N.Y. Cnty.), Shan, then COO of Singularity and Thor, submitted the

sworn Affidavit of Jing Shan in Opposition to Plaintiff’s Order to Show Cause for Prejudgment


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system=prod.


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Interest, in which she blamed Thor’s inability to deliver the promised bitcoin mining machines prior

to June 2022 on the global semiconductor shortage and COVID lockdowns in China:86

          18. I understand that due to a worldwide chip shortage and difficulty in obtaining the
          necessary parts, there were delays in manufacturing the bitcoin mining machines. For
          example, see Understanding the Current Global Semiconductor Shortage, Preparing
          for      the       Future,       S&P       Global        (Aug.       19,        2022),
          https://www.spglobal.com/engineering/en/research         analysis/understanding-the-
          current-global-semiconductor-shortage.html.

          19. In addition to the chip shortage, I understand that there also were also delays in
          manufacturing and shipping the machines due to the strict COVID-19 lockdowns in
          China, where the machines are manufactured.

          169.    Singularity adopted the contents of Shan’s Affidavit, which represented that “due to

a worldwide chip shortage and difficulty in obtaining the necessary parts amid COVID lockdowns

in China, there were delays in manufacturing the bitcoin machines.”87

          170.    The S&P Global research analysis cited by Shan explains that the factors that

contributed to the chip shortage were well known by no later than March 2021 and that most extend

back to 2019.

          171.    In addition, on September 27, 2021, just days before Singularity announced the Thor

Joint Venture with HighSharp, AGM Group Holdings, Inc. (“AGM”), an integrated technology

company focusing on high-performance chip solutions, computing equipment, and fintech software

services, announced that it had entered into a joint venture with HighSharp. The HighSharp/AGM

joint venture provided that “for the six months period until March 25 2022, HighSharp was obligated

to provide the latest ASIC chip technology and manufacturing services to AGMH as a top priority.”88


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Thus, just weeks before the Thor Joint Venture, HighSharp had obligated itself to provide, as a “top

priority,” the chips necessary to build the Thor machine to AGM, not Thor, which rendered Thor

unable to manufacture the machines that it had obligated itself to deliver to SOS by early to mid-

2022. Specifically, the SOS Agreement provides that Thor must deliver to SOS its purchased Bitcoin

miners within 120 days. Singularity’s January 10th, 2022, press release stated that SOS had already

paid Thor $40 million up front with another $40 million to be paid upon completion of the order.

Thus, Thor would have been obligated to complete the order in or about early May 2022.

        172.    As of December 12, 2022, Thor had delivered only 1,960 of the original 4,000

machines and continued to blame conditions in China for its inability to deliver more, stating, in part,

“Thor Miner fully intends to deliver the remaining bitcoin mining machines to SOS promptly once

the force majeure conditions in China will allow for it.”89

        173.    That Singularity and Thor failed to deliver as promised – regardless of the well-

known impacts of COVID and the global chip shortage – was not unexpected. It is likely that Thor

never developed its own bitcoin mining machine because AGM had entered into a deal with

HighSharp that required priority over HighSharp’s purported deal with Thor Miner and Singularity

had only recently entered the cryptocurrency space and possessed little manufacturing know-how or

the capacity to produce tens or hundreds of thousands of crypto mining machines.

        174.    For example, AGM’s website displayed a Koi crypto mining machine, as follows:




89
  https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=BlBuo9tadJxal0nxTsFFcg==&system
=prod.


                                                   55
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        175.     Thor Miner’s website, Thorminer.com, cannot be accessed without an archive.

However, the Peabody Report contains images that depict the stats and images of the Thor machine

and states “miner stats and photos are shockingly similar between Singularity’s joint venture (Thor)

& AGM.” By using arhive.org/web, also known as the “Wayback Machine”, images taken from

Thorminer.com show that it was advertising some Thor machines that bore the Koi logo for AGM’s

machines. See https://web.archive.org/web/20220518032433/https://thorminer.com/.90




90
   Thorminer.com appears to date back to at least August 2018. See https://web.archive.org/web/20180816010551/
http://thorminer.com/en/about. A capture of Thorminer.com from August 16, 2018 states that “Thor is a technical
corporation focusing on design and development of high-speed and low-energy chips” and includes images of entirely
different bitcoin mining machine that does not appear on captures of Thorminer.com in 2021 and 2022.


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       176.   Various sources, including the Hindenburg Report and the Peabody Report, have

suggested that Singularity’s joint venture, Thor, was not manufacturing proprietary crypto mining

machines but rather reselling the small number of AGM Koi machines that it was able to import.

Singularity’s Form 10-Q for Q1 2023, prepared under new management, further supports this

conclusion, as it acknowledges that “For the nine months ended March 31, 2023, the Company

engaged in resale of cryptocurrency mining equipment. For the three months ended March 31, 2023,




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the Company did not sell crypto-mining machines.”91

           177.    On December 9, 2022, SOS sued Singularity, Thor Miner, Lei Cao, Yang Jie, John

F. Levy, Tieliang Liu, Tuo Pan, Shi Qiu, Jing Shan, and Heng Wang in an action styled SOS

Information Technology New York, Inc. v. Thor Miner, Inc., et al., Index No. 654735/2022 (Sup. Ct.,

N.Y. Cnty.), alleging that Thor Miner had failed to deliver the promised proprietary crypto mining

machines.

           178.    Within two weeks of the filing of SOS’s lawsuit, on or about December 23, 2022, the

SOS litigation was settled. On December 30, 2022, SOS filed a Form 6-K in which it reported a

material transaction with Singularity, summarizing the settlement:

           SOS Information Technology New York, Inc. (“SOSNY”), a company
           incorporated under the laws of state of New York and a wholly owned subsidiary
           of SOS Ltd., filed a lawsuit on December 9, 2022, against Thor Miner, Inc. (“Thor
           Miner”), Singularity Future Technology Ltd. (“Singularity,” and, together with
           Thor Miner, referred to as the “Corporate Defendants”), Lei Cao, Yang Jie, John
           F. Levy, Tieliang Liu, Tuo Pan, Shi Qiu, Jing Shan, and Heng Wang (jointly
           referred to as the “Individual Defendants”) (collectively, the Individual
           Defendants and the Corporate Defendants are the “Defendants”). A. SOSNY and
           Thor Miner entered into a January 10,2022 Purchase and Sale Agreement (the
           “PSA”) for the purchase of $200,000,000 in crypto mining rigs, which SOS claims
           was breached by Thor Miner and Singularity

           SOSNY and Defendants entered into a certain settlement agreement and general
           mutual release Effective Date December 28, 2022(“Settlement Agreement”).
           Pursuant to the Settlement Agreement, Thor Miner agreed to pay a sum of thirteen
           million in U.S. dollars ($13,000,000) (the “Settlement Payment”) to SOSNY on
           or before December 23, 2022, and SOSNY agreed that subsequent to its receipt of
           the Settlement Payment, SOSNY shall cause the lawsuit to be dismissed with
           prejudice as to the settling defendants and without prejudice as to all others.

           Singularity and Thor Miner further covenanted and agreed that if they receive
           additional funds from HighSharp (Shenzhen Gaorui) Electronic Technology Co.,
           Ltd. (“HighSharp”) related to the PSA, they will promptly transfer such funds to
           SOSNY in an amount not to exceed forty million five hundred sixty thousand five
           hundred sixty-nine dollars ($40,560,569.00) (which is the total amount paid by
           SOSNY pursuant to the PSA less the price of the machines actually received by
           SOSNY pursuant to the PSA). The Settlement Payment and any payments

91
     https://www.sec.gov/Archives/edgar/data/1422892/000121390023039819/f10q0323_singularity.htm.


                                                      58
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        subsequently received by SOSNY from HighSharp shall be deducted from the total
        amount of forty million five hundred sixty thousand five hundred sixty-nine dollars
        ($40,560,569.00) previously paid by, and now due and owing to SOSNY. In further
        consideration of this Settlement Agreement, Thor Miner agreed to execute and
        provide to SOSNY, within seven (7) business days after the Effective Date (as
        defined in the Settlement Agreement), an assignment of all claims it may have
        against HighSharp. (Emphasis in original.)

        179.    Under its current management, with all of the Individual Defendants no longer

employed by Singularity, in the Company’s Form 10-Q for the Q1 2023, it again acknowledged that

it was aware of the impact of COVID on its ability to operate long before it entered into the Thor

Joint Venture, stating:92

        The outbreak of the novel coronavirus (COVID-19) starting in late January 2020 in
        the PRC spread rapidly to many parts of the world. In March 2020, the World Health
        Organization declared the COVID-19 as a pandemic and has resulted in quarantines,
        travel restrictions, and the temporary closure of stores and business facilities in China
        and the U.S. Given the rapidly expanding nature of the COVID-19 pandemic, and
        because substantially all of the Company’s business operations and its workforce are
        concentrated in China and the U.S., the Company’s business, results of operations,
        and financial condition have been adversely affected.

        180.    Other aspects of Singularity’s explanation for its failure to fulfill the SOS order have

evolved, notwithstanding Defendant Shan’s Affidavit. For example, under new management, in its

Form 10-Q for Q1 2023, the Company stated: “Due to production issues from HighSharp, Thor

Miner was not able to timely deliver the full quantity of cryptocurrency mining machines to SOSNY

under the PSA and was sued by SOSNY for breach of contract on December 9, 2022.”93

        181.    Despite Singularity’s representation that it is no longer in the cryptocurrency

business, a version of the Thor Miner website – using the word “miners” versus “miner” --

https://Thorminers.com/,94 remains active and claims that “Endorsed by its headquarter company,


92
   https://www.sec.gov/Archives/edgar/data/1422892/000121390023039819/f10q0323_singularity.htm.
93
   https://www.sec.gov/Archives/edgar/data/1422892/000121390023039819/f10q0323_singularity.htm.
94
   The website “thorminers.com” is currently active and refers to a relationship with Singularity. The Wayback
machine or webarchive.org provides historical captures of https://web.archive.org/web/20180816010551/



                                                     59
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Singularity Future Technology Ltd, THOR has become the world leading ASIC mining brand.” The

current site, thorminers.com, appears to differ from two earlier iterations of thorminer.com captures

which remain on web.archive.org and date back to 2018, three years before Singularity’s Thor Joint

Venture existed. The Thorminers.com site lists its address as 98 Cutter Mill Road Suite 322, Great

Neck, New York 11021, the current corporate address of Singularity.95

        I.       Singularity Knowingly Entered into a                              Sham Related             Party
                 Transaction With Rich Trading Whose                               Bank Accounts            Were
                 Controlled By Singularity’s Management

        182.     Singularity engaged in but failed to disclose material related party transactions that

are designed to transfer corporate funds to insiders or related parties.

        183.     In its Form 10-Q for the period ended December 31, 2021, filed on February 14,

2022, signed by Jie and Pan, Singularity disclosed that it agreed to invest $4.5 million into an entity

called Rich Trading, which would trade computer equipment and direct 90% of the profits back to

Singularity. On December 31, 2021, shortly after Yang Jie took over as CEO, Singularity

simultaneously entered into the agreement and advanced $3.3 million to the entity.96 Singularity’s

Form 10-Q disclosed only the following regarding the Rich Trading transaction:97

        As of December 31, 2021, the Company entered into a project cooperation
        agreement with Rich Trading Co. Ltd USA (“Rich Trading”) for trading of
        computer equipment. According to the agreement, the Company is to invest
        $4.5 million in the trading business operated by Rich Trading and the Company
        will be entitled to 90% of profit generated by the trading business. As of December
        31, 2021, the Company has advanced $3,299,815 for this project.

        184.     Singularity’s February 14, 2022 Form 10-Q failed to disclose a material related party


http://thorminer.com/en/about, which states that “Thor is a technical corporation focusing on design and development
of high-speed and low-energy chips” and includes images of entirely different bitcoin mining machine that does not
appear on captures of thorminer.com in 2021 and 2022; and a third version of thorminer.com at
https://web.archive.org/web/20220406060902/https://www.thorminer.com/ which states “8 years blockchain
chip&mining business Who we are Thor Miner Inc. ("THOR") is a semiconductor company founded in New York.”
95
   https://www.sec.gov/Archives/edgar/data/1422892/000121390023061920/ea182632-8k_singularity.htm.
96
   https://www.sec.gov/ix?doc=/Archives/edgar/data/1422892/000121390022007553/f10q1221_singularity.htm.
97
   https://www.sec.gov/Archives/edgar/data/1422892/000121390022007553/f10q1221_singularity.htm.


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transaction with Rich Trading, whose CEO was Nie and whose wife Pan was Singularity’s CFO, by

stating the following, in pertinent part:98

           Note 5. OTHER RECEIVABLES, NET

           The Company’s other receivables are as follows:

           As of December 31, 2021, the Company entered into a project cooperation
           agreement with Rich Trading Co. Ltd USA (“Rich Trading”) for trading of
           computer equipment. According to the agreement, the Company is to invest $4.5
           million in the trading business operated by Rich Trading and the Company will be
           entitled to 90% of profit generated by the trading business. As of December 31,
           2021, the Company has advanced $3,299,815 for this project.

           185.    Singularity omitted that the Rich Trading transaction was: (i) a related party

transaction; (ii) Rich Trading’s bank accounts were controlled by members of Singularity’s

management; and (iii) Rich Trading was not an entity that could or did engage in the trading of

computer equipment.

           186.    According to NY corporate registry records, Rich Trading’s principal office is 1044

Northern Boulevard, Suite 305, Roslyn, New York:99




98

https://www.sec.gov/ix?doc=/Archives/edgar/data/1422892/000121390022007553/f10q1221_si
ngularity.htm.
99
     See also https://opencorporates.com/companies/us_ny/4398492.


                                                        61
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        187.    The address listed by Rich Trading is the address that Singularity listed as its

headquarters. Singularity changed its address from 1044 Northern Boulevard, Suite 305, Roslyn,

New York to 98 Cutter Mill Road, Suite 322, Great Neck, New York 11021 between October 4,

2021 and October 22, 2021.100

        188.    Notably, Singularity later revealed that the Rich Trading transaction was entered into

on November 16, 2021, just weeks after Singularity stopped using the Roslyn, New York address.

        189.    Rich Trading’s CEO is Lei Nie, who is the husband of Tuo Pan, Singularity’s CFO

at the time that Singularity announced the transaction.101 Pan, along with Jie, signed Singularity’s

Form 10-Q for the period ended December 31, 2021, filed on February 14, 2022, and, therefore,

knew that the transaction with Rich Trading was an undisclosed related party transaction.102

        190.    The statements contained in Section IV, as alleged above, were materially false




100
    Compare https://www.sec.gov/Archives/edgar/data/1422892/000101376221000102/ea148358-
8k_sinoglobal.htm, with https://www.sec.gov/Archives/edgar/data/1422892/000121390021054093/ea149267-
8k_sinoglobal.htm.
101
    https://www.sec.gov/Archives/edgar/data/1422892/000121390022010809/def14a0322_singularity.htm.
102
    https://www.sec.gov/ix?doc=/Archives/edgar/data/1422892/000121390021055789/ea149737-8k_sinoglobal.htm.


                                                   62
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and/or misleading because they misrepresented and failed to disclose the following adverse facts

pertaining to the Company’s business, operations, and prospects, which were known to Defendants

or recklessly disregarded by them. Specifically, the Singularity Defendants made false and/or

misleading statements and/or failed to disclose, among other things: (1) Jie’s true educational

background, alleged criminal background and misconduct associated with CCC; (2) Singularity’s

transition to a cryptocurrency company and associated ventures were fabrications or ventures that

the Defendants knew could not be accomplished; (3) material related party transactions with SOS

and Rich Trading; (4) Director John Levy’s prior tenure from January 2013 through December 2016

as a director of CCC which failed amidst detailed allegations that Jie, when he was an executive and

shareholder in CCC, misappropriated assets; and (5) the Company lacked adequate internal controls

and as a result had a heightened risk of scrutiny and ultimately was subject to a United States

Attorney’s Office for the Southern District of New York and SEC investigation and action as well

as a potential delisting by NASDAQ. Defendant Thor omitted that it and Singularity lacked the

ability, resources, or intention to develop, manufacture, and deliver proprietary crypto mining

machines in any meaningful quantity. Defendant Mainland omitted that it was a sham and that it did

not possess or could not deliver the promised energy necessary to power Singularity’s purported

cryptocurrency mining venture.

V.     THE TRUTH EMERGES

       191.    Between May 5, 2022 and February 24, 2023, Singularity investors learned the

shocking truth about Singularity’s brazen, pervasive, and widespread fraud.

       A.      Hindenburg Research and Peabody Street Research Issue Bombshell Reports
               That Expose Substantial Fraud by the Defendants

       192.    As referenced above, on May 5, 2022, Hindenburg Research issued the Hindenburg

Report about Singularity entitled “Singularity Future Technology: This Nasdaq-Listed Company’s



                                                63
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CEO Is A Fugitive, On The Run For Allegedly Operating A Massive Ponzi Scheme.”103

        193.    On that same day, Peabody Street Research issued the Peabody Report regarding

Singularity entitled “How Did A Chinese Fugitive Wind Up As The CEO Of A Publicly Traded

Company?”104

        194.    The Hindenburg Report and the Peabody Report similarly revealed myriad aspects

of the fraud by the Individual Defendants, as follows.

                        1.      Jie’s Extensive Criminal Past, Financial Improprieties, and Past
                                Deflections Were Revealed and Debunked

                                a.       Jie’s Criminal Past

        195.    The Hindenburg Report extensively detailed that: (a) Jie is a fugitive on the run from

Chinese authorities for operating an alleged $300 million Ponzi scheme that lured in over 20,000

victims; (b) Chinese media and its own checks with local authorities confirm that Yang Jie still has

an outstanding arrest warrant in China; (c) Jie allegedly forged Chinese state documents in an attempt

to demonstrate his innocence, and as a result, and according to a police document cited by local

media, Chinese police have added forgery to his list of suspected crimes; and (d) Jie is the subject of

an active “Red Notice” (the U.S. equivalent of an arrest warrant) in China for his role in the Ponzi

scheme. Hindenburg also provided evidence that multiple Chinese media articles make it clear that

Yang Jie was both behind the Ponzi scheme and the eventually failed Nasdaq-listed CCC.

        196.    The Peabody Report provided sourced allegations from a lawsuit in the New York

Supreme Court that alleged “Mr. Jie was under criminal investigation in China in connection with

the theft of approximately 2.9 billion RMB, the equivalent of roughly 300 million U.S. dollars, from

more than 20,000 investors through fraudulent securities transactions.”


103
   https://hindenburgresearch.com/singularity/#_ftnref10.
104
   https://peabodystreet.substack.com/p/how-did-a-chinese-fugitive-wind-up?utm_source=%2Fsearch%2F
singularity&utm_medium=reader2.


                                                    64
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                                b.      Jie’s Financial Improprieties

        197.    The Hindenburg Report and the Peabody Report detailed Jie’s involvement in

significant financial improprieties while he served as a General Manager of CCC at the same time

Singularity Director John Levy served as a Director of CCC, suggesting that Levy was fully aware

of Jie’s sordid past. Relatedly, the Peabody Report revealed that “Levy has previously served on

boards where catastrophic results such as bankruptcy and severe losses of shareholder capital have

happened.”

        198.    The Hindenburg Report and the Peabody Report revealed that CCC was sued as a

result of a failed reverse merger in which Jie was revealed to have: (a) proffered a forged “no

prosecution” letter in an attempt to conceal his role in a prior $300 million Ponzi scheme for which

he is a wanted criminal in China; (b) retained an entity to render a fairness opinion on the reverse

merger that was entirely owned by Jie; and (c) a lawsuit against Jie over the failed reverse merger

alleged and it was later proved that he stole $3.5M from an escrow account, initially escaping liability

though a false affidavit.

                2.      Director Levy Is Exposed for His Knowledge of Jie’s Financial
                        Improprieties and Mismanagement at CCC

        199.    Hindenburg revealed that Levy’s Singularity biography omitted his long tenure as

a Director of CCC. As alleged, Jie would have been known to Levy for his involvement in

significant financial improprieties while he served as a General Manager of CCC at the same time

Singularity Director John Levy served as a Director of CCC, suggesting that Levy was fully aware

of Jie’s sordid past and financial improprieties at CCC.

        200.    On February 23, 2023, Levy tendered his resignation from his positions as a member

of the Board and the Audit Committee, the Compensation Committee and the Nominating/Corporate

Governance Committee of the Board, effective immediately.



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                 3.     Singularity’s Thor Miner Proprietary Crypto Mining Machine is
                        Revealed as a Sham

       201.      The Hindenburg Report and the Peabody Report concluded that Singularity’s

purported proprietary bitcoin mining machine was likely not real because “Singularity [Thor

Miner] is selling a Bitcoin miner that is almost identical to a competitor’s” and provided detailed

proof that the Thor Miner machine pictured on Thor Miner’s website was just a picture of a

competing product. Peabody also revealed that a competitor to Thor Miner, AGM, had entered a

contract with Thor Miner’s joint venture partner that took precedence over the Thor Miner deal.

                 4.     Singularity’s Transaction With SOS Is Revealed as a Sham and
                        Undisclosed Related Party Transaction

       202.      According to the Hindenburg Report, Jie’s connection to SOS may be longstanding

and more complex than just his marriage to an SOS Vice President. For example, the Hindenburg

Report states:

       [W]e found that an entity called “Jie’s Enterprise and Development” uses the same exact
       address as SOS New York, per New York corporate records.




(SOS Information Technology New York Inc. corporate records. Source: New York Corporate
Registry)



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(Jie’s Enterprise and Development Ltd corporate records. Source: New York Corporate Registry)

           203.    According to the Hindenburg Report, Nassau County real estate records105 show that

Yang Jie’s personal residence is owned by “Jie’s Enterprise and Development.”106

           204.    The Peabody Report further detailed that Jie’s wife, Xiaohuan Huang, a former Board

member of Singularity, was also a Vice President of SOS, making the deal a related party

transaction.

                   5.      Golden Mainland

           205.    The Hindenburg Report and the Peabody Report provided extensive evidence that

Singularity’s $250 million deal with Golden Mainland was also a sham. First, it determined that

the company had been formed only months before the transaction was announced, had non-existent

officers, and that its office address was a State Farm Insurance office. Peabody developed evidence

indicating that Golden Mainland appeared to be a sham company established months before the

transaction was disclosed and that the company cannot own and operate the massive power




105
      https://www.slideshare.net/HindenburgResearch/yang-jie-real-estate-records.
106
      https://www.sec.gov/Archives/edgar/data/1556266/000121390018014247/xslF345X03/ownership.xml.


                                                      67
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resources that it claimed to have at its disposal.

        B.      Singularity’s Rich Trading Transaction Is Revealed as a Likely Sham and
                Undisclosed Related Party Transaction

        206.    Hindenburg revealed evidence suggesting that Singularity may be siphoning cash

into an entity controlled by the husband of its CFO, and that Rich Trading used Singularity’s

former corporate address. The related party relationship has not been disclosed by Singularity.

Hindenburg found no evidence that Rich Trading engaged in the trading of computers or virtually

any trading at all. Rather, the only thing that Rich Trading appears to have imported are cotton

towels. Hindenburg published the following results of its search:




        207.    On this news, Singularity’s stock fell 40.63% to close at $4.80 per share on May 5,

2022, on unusually heavy trading volume, damaging investors. It fell further on May 6, 2022,

13.21%, to close at $4.24 per share.

        208.    In response to the Hindenburg Report, on May 6, 2022, the Board formed a Special

Committee to investigate claims raised in the Hindenburg Report. The Special Committee retained

Blank Rome LLP as counsel to investigate the allegations in the Hindenburg Report and any related

matters.107

        209.    From time to time, Jie has appeared to acknowledge his legal troubles in China. For

example, an April 19, 2019 article in the Miami Herald entitled “Cindy Yang helped Chinese tech



107
   https://iapps.courts.state.ny.us/fbem/DocumentDisplayServlet?documentId=BlBuo9tadJxal0nxTsFFcg==&
system=prod.


                                                     68
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stars get $50K photos with Trump. Who paid?” states:

           Speaking of his legal troubles back home [Jie] said: “The Chinese Communist Party’s
           policies [are] terrible. They always harass businesspeople like me.”

           210.    On May 25, 2022, Singularity filed with the SEC its Form 8-K signed by Pan.108

           211.    The May 25, 2022 Form 8-K downplayed the serious issues with the Company’s

internal controls by stating the following, in pertinent part:

           Item 3.01 Notice of Delisting or Failure to Satisfy a Continued Listing Rule or
           Standard; Transfer of Listing.

           On May 24, 2022, Singularity Future Technology Ltd. (the “Company”) received
           a delinquency notification letter (the “Letter”) from the Listing Qualifications
           Department of The Nasdaq Stock Market LLC (“Nasdaq”) notifying the Company
           that due to the delay in filing the Company’s Quarterly Report on Form 10-Q for
           the quarter ended March 31, 2022 (the “Form 10-Q”), the Company is not in
           compliance with Nasdaq Listing Rule 5250(c)(1), which requires listed companies
           to timely file all periodic financial reports with the Securities and Exchange
           Commission (the “SEC”).

           The Letter states that, the Company has 60 calendar days to submit a plan
           addressing how it intends to regain compliance with Nasdaq’s listing rules and, if
           Nasdaq accepts the Company’s plan, it may grant an extension of up to 180 calendar
           days from the original filing due date of the Form 10-Q, or until November 21,
           2022, to regain compliance.

           The Company’s management is working diligently to complete the Form 10-Q and
           intends to file the Form 10-Q as soon as practicable to regain compliance with the
           Nasdaq Listing Rule.

           212.    On October 7, 2022, Singularity filed with the SEC its Form 8-K signed by Shan.

           213.    The October 7, 2022 Form 8-K provided a partial disclosure of issues with the

Company’s internal controls by reporting a potential delisting by NASDAQ, stating the following,

in pertinent part:

           Item 3.01. Notice of Delisting or Failure to Satisfy a Continued Listing Rule or
           Standard; Transfer of Listing.



108
      https://www.sec.gov/Archives/edgar/data/1422892/000121390022029555/ea160633-8k_singular.htm.


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       On October 3, 2022, Singularity Future Technology Ltd. (the “Company”) received
       a notice (the “Notice”) from the Listing Qualifications Department of The Nasdaq
       Stock Market LLC (“Nasdaq”), advising that the Company’s securities would be
       subject to delisting unless the Company timely requests a hearing before a Nasdaq
       Hearings Panel (the “Panel”). Accordingly, the Company intends to timely request
       a hearing before the Panel. The hearing request will stay any delisting or suspension
       action through October 25, 2022. Pursuant to the Nasdaq Listing Rules, in
       connection with the hearing request, the Company will request that the automatic
       stay be extended through the conclusion of the hearings process and the expiration
       of any additional extension period granted by the Panel following the hearing.

       As previously disclosed in the Company’s Form 8-K filed with the SEC on May
       25, 2022, on May 24, 2022, the Company received a delinquency notice from
       Nasdaq indicating that the Company was not in compliance with Nasdaq Listing
       Rule 5250(c)(1) due to the delay in filing its Quarterly Report on Form 10-Q for
       the quarter ended March 31, 2022, and was provided 60 days to submit a plan to
       regain compliance. On July 25, 2022, and September 14, 2022, the Company
       submitted its plan to regain compliance and supplementary information related to
       the plan, respectively (collectively, the “Compliance Plan”).

       Based on the review of the Compliance Plan as well as telephone conversations
       with outside counsel to the Company and counsel to the Company’s special
       committee of the board of directors, the Staff has determined that the Company did
       not provide a definitive plan evidencing its ability to file the Quarterly Report on
       Form 10-Q for the quarter ended March 31, 2022 and the Annual Report on Form
       10-K for the fiscal year ended June 30, 2022 (collectively, the “Reports”) within
       the 180 calendar day period available to the Staff under the Nasdaq Listing Rules.

       Specifically, the delisting determination referenced several aspects of the
       Compliance Plan that raise substantial doubts about the Company’s ability to regain
       compliance: (i) the unreasonably short timeframe for the Company to file the
       Reports based on the anticipated timeframe the Company’s special committee of
       the board of directors needs to substantially complete its investigation; (ii) the
       Company’s ability to engage a new independent registered public accounting firm;
       and (iii) the departure of both the Company’s Chief Executive Officer and Chief
       Financial Officer.

       While the Company intends to make every effort to maintain its listing, there can
       be no assurance that the Panel will grant the Company’s request for an extended
       stay or request for continued listing, nor can there be any assurance that the
       Company will ultimately regain compliance with all applicable requirements for
       continued listing.

       214.    On this news, on October 7, 2022, Singularity’s stock fell 11.79% to close at $2.29

per share, damaging investors.



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        215.    On November 16, 2022, Singularity filed with the SEC its Form 8-K signed by Shan.

        216.    The November 16, 2022 Form 8-K disclosed governmental investigations of

Singularity related to the claims raised by Hindenburg Research on May 5, 2022, and other related

matters. It stated, in pertinent part:

        Item 8.01 Other Events.

        Press Release:

        Singularity Future Technology Announces Update Related to Special Committee
        Investigation

        Great Neck, N.Y., November 16, 2022 – Singularity Future Technology Ltd.
        (“Singularity” or the “Company”) (Nasdaq: SGLY) announced an update with
        respect to the Company’s business and other matters.

        The Company has received subpoenas from the United States Attorney’s Office for
        the Southern District of New York and the United States Securities and Exchange
        Commission. The Company is complying with these subpoenas and fully
        cooperating with these governmental entities. Additionally, the special Committee
        of the Company’s Board of Directors is continuing to investigate the claims raised
        by Hindenburg Research on May 5, 2022 and other related matters.

        The special committee anticipates that the fact-finding portion of investigation will
        be completed on or before December 31, 2022.

        217.    On this news, on November 16, 2022, Singularity’s stock fell 22.97% to close at

$2.09 per share on unusually heavy trading volume, damaging investors. On November 17, 2022,

it fell an additional 84.96% to close at $1.13 per share.

        C.      Singularity’s Unregistered Securities Sales Are Revealed as a Fraud

                1. Singularity, Jie, Shan, Pan, and Cao Fraudulently Induced Hexin Global
                   Limited and Viner Total Investments Funds to Purchase $6,124,910.82 in
                   Unregistered      Securities  Touting   Singularity’s  Cryptocurrency
                   Transformation

        218.    On September 23, 2022, Hexin Global Limited and Viner Total Investments Fund

sued Singularity, Jie, Shan, Pan, and Cao to recover $6,124,910.82 in damages caused by their

alleged common law fraud and statutory violations of the federal securities laws as well as breaches


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of contract arising from a Securities Purchase Agreement (“SPA”) between Helix, Viner, and

Singularity, entered into on December 14, 2021.109

           219.     On this news, on September 23, 2022, Singularity’s common stock fell 4% to close

at $2.86 per share and continued to slide the days that followed, damaging investors.

           220.     In their lawsuit, Hexin and Viner alleged that in September 2021, they were

introduced to Cao and Jie to discuss potential investments in Singularity. According to Hexin and

Viner, Cao and Jie told their representatives that Singularity was on the verge of incredible growth

because it was about to pursue a new line of business focusing on blockchain technologies.

           221.     Hexin and Viner alleged that on December 14, 2021, in reliance on the

representations made by Cao and Jie, Hexin and Viner entered into the SPA with Singularity,

pursuant to which Hexin and Viner agreed to collectively purchase 1,878,807 restricted shares of

Singularity common stock at $3.26 per share. Restricted shares are, by definition, unregistered and

do not require a public capital raise. Among other things, the restricted shares could only be sold if

Singularity was compliant with its public reporting requirements.

           222.     Hexin alleged that Singularity’s misrepresentations, which led it to purchase

unregistered securities from Singularity, were directly related to and based on the Company’s

phony cryptocurrency business, stating:

           Since the Company received the investment from our party, it did not carry out
           cryptocurrency-related business in accordance with the agreement between the two
           parties and did not invest the fixed-investment amount into blockchain business
           development, which seriously violated the intention of the investors, resulting in
           the lack of effective growth for the Company's performance, and the share price
           fluctuated significantly and returned to the lower point.

           223.     In the SPA, Singularity represented and warranted that it shall comply with specific

SEC reporting requirements, absent which the restrictive legends could not be removed, including,


109
      Hexin Global Limited et al v. Singularity Future Technology, Ltd. et al, 1:22-cv-08160 (S.D.N.Y. 2022).


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among many others:

                       Section 2.1 Representations and Warranties of the Company and its
                        Subsidiaries. (C) Capitalization. (i) . . . no Common Stock are entitled to
                        preemptive, conversion or other rights and there are no outstanding options,
                        warrants, scrip, rights to subscribe to, call or commitments of any character
                        whatsoever relating to, or securities or rights convertible into, any shares
                        of capital stock of the Company[];

                       Section 2.1 Representations and Warranties of the Company and its
                        Subsidiaries. (C) Capitalization. (ii) there are no contracts, commitments,
                        understandings, or arrangements by which the Company is or may become
                        bound to issue additional shares of capital stock of the Company or options,
                        securities or rights convertible into shares of capital stock of the Company;

                    Section 3.9 Use of Proceeds. The Company shall use the net proceeds from
                     the sale of the Securities hereunder for working capital and general
                     corporate purposes and shall not use such proceeds: (a) for the redemption
                     of any Common Stock or Common Stock Equivalents, or (b) in violation of
                     FCPA or OF AC regulations.110

            224.       Based on Cao’s and Jie’s representations, and the representations articulated in the

SPA, Hexin and Viner collectively wired Singularity $6,124,910.82 in exchange for 1,878,807

restricted shares of Singularity.

            225.       Helix and Viner alleged that Singularity breached the SPA almost immediately.

Despite expressly representing that there were no “outstanding options, warrants, scrip, rights to

subscribe to, call or commitments of any character whatsoever relating to, or securities or rights

convertible into, any shares of capital stock of the Company.” On or about January 6, 2022, just

weeks after executing the SPA and days after receipt of plaintiffs’ funds, Singularity announced in

a Form 8-K that it had entered into a Warrant Purchase Agreement with previous investors “pursuant

to which the Company agreed to buy back an aggregate of 3,870,800 warrants (the ‘Warrants’) from

the Sellers, and the Sellers agreed to sell the Warrants back to the Company. These Warrants were



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      All italics added for emphasis.



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sold to these Sellers in three previous transactions that closed on February 11, 2021, February 10,

2021, and March 14, 2018. The purchase price for each Warrant is $2.00 . . . .”

           226.     Helix and Viner alleged that Singularity, Jie, and Cao neither disclosed the Warrants

to them prior to executing the SPA nor excluded them from the explicit representation that no

warrants were outstanding in Sections 2.1(c)(i) and (ii) of the SPA. In other words, one day after

Singularity received an aggregate payment of over $6.1 million, it conspired to use the funds to buy

back millions of shares exercisable by Warrants in a transaction valued at $7,741,600. They did so

despite Singularity and Jie representing in: (i) Sections 2.1(c)(i) and (ii) of the SPA that no warrants

were outstanding; and (ii) Section 3.9 that the “Company shall use the net proceeds from the sale of

the Securities hereunder for working capital and general corporate purposes” and not to eliminate

outstanding obligations such as the Warrants.

           227.     Singularity and Jie intended to use the funds obtained from Hexin and Viner to

finance their emerging blockchain ventures and would not use the funds to redeem any common

stock equivalents in accordance with SPA Section 3.9.

                    2.       Singularity Induced Jinhe Capital Limited to Purchase $10,500,000 in
                             Unregistered Securities

           228.     On October 6, 2022, Jinhe Capital Limited (“Jinhe”) filed a lawsuit against

Singularity alleging that the Company violated a November 2021 financial advisory services

agreement between them (“Jinhe Agreement”).111

           229.     On this news, Singularity’s common stock price declined from an opening price of

$2.90 on October 6, 2022 to close at $2.56 on that date, and continued to decline in the following

days, closing at $2.29 on October 7, 2022 and $2.15 on October 10, 2022.

           230.     Jinhe alleged that, pursuant to the Jinhe Agreement, it introduced Singularity to six


111
      Jinhe Capital Limited v. Singularity Future Technology, Ltd., 22-cv-08538-LJL (S.D.N.Y.).


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investors who invested over $10.5 million into Singularity pursuant to a Securities Purchase

Agreement dated December 14, 2021. In consideration for these services, Singularity was to pay

Jinhe 500,000 restricted shares of Singularity common stock. On or about January 24, 2022,

Singularity’s transfer agent TranShare issued 500,000 shares of restricted stock to Jinhe. However,

thereafter, Singularity failed to continue filing reports with the SEC which rendered it impossible to

lift the restriction on Jinhe’s shares, effectively rendering them worthless. Despite Jinhe’s request,

Singularity refused to assist Jinhe to remove the restricted legend.

               3.      Singularity, Jie, Cao, Shan, and Pan Induced St. Hudson Group LLC,
                       Imperii Strategies LLC, Isyled Technology Limited, and Hsqynm
                       Family Inc. to Purchase $4,400,000 in Unregistered Securities Touting
                       Singularity’s Cryptocurrency Transformation

       231.    On December 5, 2022, St. Hudson Group LLC, Imperii Strategies LLC, Isyled

Technology Limited, and HS-QYNM Family Inc. sued Singularity, Jie, Cao, Shan, and Pan, alleging

that they invested $4,400,000 to purchase unregistered shares of Singularity based on the

representations of Singularity, Jie, Cao, Shan, and Pan regarding Singularity’s cryptocurrency

business. Specifically, the St. Hudson plaintiffs alleged that: “Between September and December of

2021, Defendants—including Jie who was later revealed to be a convicted fraudster on the run from

Chinese authorities—engaged in a scheme of material misrepresentations and omissions to convince

the St. Hudson plaintiffs to invest millions of dollars in Singularity’s purported cryptocurrency

business that Defendants falsely claimed would earn Plaintiffs ‘10x’ investment returns in a short

period of time.”

       232.    On this news, Singularity’s common stock price declined from an opening price of

$0.78 on December 5, 2022, to $0.75 on December 6, 2022.

       233.    On February 24, 2023, Singularity informed the Court that it had agreed to settle the

claims of Hexin Global Limited, Viner Total Investments Fund, Jinhe Capital Limited, St. Hudson



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Group LLC, Imperii Strategies LLC, Isyled Technology Limited, and HS-QYNM Family Inc. On

this news, Singularity’s common stock price fell 15%, from $0.69 to $0.60 on February 24, 2023.

On March 10, 2023, the parties entered into a Settlement Agreement and Release pursuant to which

Singularity paid $10,525,910.82 to settle the claims.

        D.     Singularity Knew That It Could Not Deliver on the SOS Transaction

        234.   On January 5, 2023, Singularity filed a Form 8-K with the SEC in which it announced

that:

        SOS Information Technology New York, Inc. (“SOSNY”), a company
        incorporated under the laws of state of New York and a wholly owned subsidiary
        of SOS Ltd. filed a December 9, 2022 lawsuit in the New York State Supreme Court
        against Thor Miner, Inc., which is Singularity’s joint venture (“Thor Miner”),
        Singularity Future Technology Ltd. (“Singularity” or the “Company,” and, together
        with Thor Miner, referred to as the “Corporate Defendants”), Lei Cao, Yang Jie,
        John F. Levy, Tieliang Liu, Tuo Pan, Shi Qiu, Jing Shan, and Heng Wang (jointly
        referred to as the “Individual Defendants”) (collectively, the Individual Defendants
        and the Corporate Defendants are the “Defendants”). SOSNY and Thor Miner
        entered into a January 10, 2022 Purchase and Sale Agreement (the “PSA”) for the
        purchase of $200,000,000 in crypto mining rigs, which SOSNY claims was
        breached by the Defendants.

        SOSNY and Defendants entered into a certain settlement agreement and general
        mutual release with an Effective Date of December 28, 2022 (“Settlement
        Agreement”). Pursuant to the Settlement Agreement, Thor Miner agreed to pay a
        sum of thirteen million in U.S. dollars ($13,000,000) (the “Settlement Payment”)
        to SOSNY in exchange for SOSNY dismissing the lawsuit with prejudice as to the
        settling Defendants and without prejudice as to all others. The full Settlement
        Payment was received by SOSNY on December 28, 2022. SOSNY dismissed the
        lawsuit with prejudice against Singularity (and other Defendants) on December 28,
        2022.

        Singularity and Thor Miner further covenanted and agreed that if they receive
        additional funds from HighSharp (Shenzhen Gaorui) Electronic Technology Co.,
        Ltd. (“HighSharp”) related to the PSA, they will promptly transfer such funds to
        SOSNY in an amount not to exceed forty million, five hundred sixty thousand, five
        hundred sixty-nine dollars ($40,560,569.00) (which is the total amount paid by
        SOSNY pursuant to the PSA less the price of the machines actually received by
        SOSNY pursuant to the PSA). The Settlement Payment and any payments
        subsequently received by SOSNY from HighSharp shall be deducted from the total
        amount of forty million, five hundred sixty thousand, five hundred sixty-nine
        dollars ($40,560,569.00) previously paid by, and now due and owing to SOSNY.


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           In further consideration of the Settlement Agreement, Thor Miner agreed to execute
           and provide to SOSNY, within seven (7) business days after SOSNY’s receipt of
           the Settlement Payment, an assignment of all claims it may have against HighSharp
           or otherwise to the proceeds of the PSA.

           235.    On January 5, 2023, in a Form 8-K filed with the SEC, Singularity first disclosed that

it was the subject of numerous investigations:112

            Government Investigations

            Following a publication issued by Hindenburg Research dated May 5, 2022, the
            Company received subpoenas from the United States Attorney’s Office for the
            Southern District of New York and the United States Securities and Exchange
            Commission. The Company is cooperating with the government regarding these
            matters. At this early stage, the Company is not able to estimate the outcome or
            duration of the government investigations.

           236.    In a Form 8-K, filed with the SEC, filed on January 9, 2023, Singularity filed its

Separation Agreement with Cao which referenced that the Company was also under investigation

by FINRA.113

           237.    On January 13, 2023, Singularity announced:

           On January 9, 2023, Singularity Future Technology Ltd.(the “Company”), entered
           into an Executive Separation Agreement and General Release (the “Separation
           Agreement”), with Lei Cao, an employee of the Company and a member of the
           Board of Directors of the Company (the “Board”), setting forth the terms and
           conditions related to (1) the termination of Mr. Cao’s employment with the
           Company and the termination of the employment agreement dated as of November
           1, 2021 as well as cancellation and/or termination of certain other agreements
           relating to Mr. Cao’s employment with the Company; and (2) Mr. Cao’s resignation
           from the Board, effective as of January 9, 2023.

           Pursuant to the Separation Agreement, Mr. Cao submitted a letter of resignation
           from the Board on January 9, 2023. In addition, he agreed to forfeit and return to
           the Company the 600,000 shares of common stock of the Company granted to him
           on August 13, 2021 under the terms of the 2014 Equity Incentive Plan of the
           Company (the “2021 Shares”). Mr. Cao also agreed to cooperate with the Company
           regarding certain investigations and proceedings set forth in the Separation
           Agreement, and/or any other matters arising out of or related to Mr. Cao’s
           relationship with or service to the Company. In consideration, the Company agreed

112
      https://www.sec.gov/Archives/edgar/data/1422892/000121390023000926/ea171208-8k_singularity.htm.
113
      https://www.sec.gov/Archives/edgar/data/1422892/000121390023002787/ea171630-8k_singularity.htm.


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       to provide the following benefits to which Mr. Cao was not otherwise entitled: (1)
       payment of reasonable attorneys’ fees and costs incurred by Mr. Cao up through
       January 9, 2023 associated with Mr. Cao’s personal legal representation in matters
       relating to Mr. Cao’s tenure with the Company, the investigations and proceedings
       set forth in the Separation Agreement, and the negotiation and drafting of the
       Separation Agreement; (2) the release of claims in Mr. Cao’s favor contained in the
       Separation Agreement; and (3) payment of Mr. Cao’s reasonable and necessary
       legal fees to the extent incurred by Mr. Cao as a result of his cooperation as required
       by the Company under the terms of the Separation Agreement. Additionally, the
       Separation Agreement contains mutual general releases and waiver of claims from
       Mr. Cao and the Company.

       The foregoing description of the Separation Agreement is a summary of the
       material terms of such agreement, does not purport to be complete and is qualified
       in its entirety by reference to the Separation Agreement, which is filed hereto as
       Exhibit 10.1.

VI.    POST-CLASS PERIOD DEVELOPMENTS

       238.   On February 27, 2023, Singularity filed a Form 8-K with the SEC in which it

announced that:

        On February 21, 2023, Singularity Future Technology Ltd. (the “Company”)
        received an additional staff determination notice (the “Notice”) from the Listing
        Qualifications Department of The Nasdaq Stock Market LLC (“Nasdaq”), advising
        that it had not received the Company’s Form 10-Q for the quarterly period ended
        December 31, 2022, which served as an additional basis for delisting the Company’s
        securities and that the Nasdaq Hearings Panel (the “Panel”) will consider the
        additional deficiency in rendering a determination regarding the Company’s
        continued listing on Nasdaq. The Company has submitted to the Panel a plan to
        regain compliance with the continued listing requirements and has been granted a
        grace period to file all the delinquent reports, including the filing of the Form 10-Q
        for the quarterly period ended December 31, 2022, on or before February 28, 2023.”

       239.   In the February 27, 2023 Form 8-K, Singularity stated that:

       As previously reported, on May 6, 2022, the Board formed a special committee to
       investigate claims of alleged fraud, misrepresentation, inadequate disclosure, and
       other related matters related to the Company and certain of its management
       personnel raised in the report of Hindenburg Research dated May 5, 2022 and other
       related matters. On February 23, 2023, the Board approved the dissolution of the
       special committee upon conclusion of the committee’s investigation.

       240.   On March 1, 2023, Singularity announced that:




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      Item 4.02.   Non-Reliance on Previously Issued Financial Statements or a
      Related Audit Report or Completed Interim Review.

      On February 28, 2023, the audit committee of Singularity Future Technology
      Ltd.(the “Company”), after discussion with the management of the Company, and
      in consultation with the Company’s independent registered public accounting firm,
      concluded that the Company’s previously issued financial statements for the fiscal
      year ended June 30, 2021 included in the Company’s Annual Report on Form 10-
      K filed with the Securities and Exchange Commission (the “SEC”) on November
      29, 2021 (the “2021 Form 10-K”) should no longer be relied upon as a result of
      incorrect accounting treatment of approximately $4.5 million of accounts
      receivable. During the fiscal year ended June 30, 2019, Trans Pacific Logistic
      Shanghai Ltd (“TP Shanghai”), a subsidiary of the Company, received
      approximately $4.5 million (Renminbi (“RMB”) 30 million) from a related party,
      Shanghai Baoyin Industrial Co., Ltd.(“Shanghai Baoyin”) which is 30% owned by
      Wang Qinggang, CEO and legal representative of TP Shanghai, to pay for accounts
      receivable of six different customers totaling RMB 30 million. TP Shanghai then
      paid the same amount to Zhangjiakou Baoyu Trading Co. Ltd.(“Baoyu”), a third
      party and recorded the amount as an advance to the supplier. As such, for the fiscal
      year 2019, accounts receivable was understated by RMB 30 million, and
      prepayment was overstated by RMB 30 million. There was no effect on total assets.
      During the fiscal year ended June 30, 2020, the advance to Baoyu was reclassified
      to other receivable and the Company provided a full allowance for the RMB 30
      million. The Company evaluated this transaction and determined there is no
      cumulative effect on the Company’s retained earnings as of June 30, 2020.

      During the fiscal year ended June 30, 2021, Baoyu repaid a total of RMB 30 million
      to TP Shanghai, and TP Shanghai loaned the same amount to Shanghai Baoyin and
      Wang Qinggang. The RMB 30 million received was recorded as recovery of bad
      debt and a related party loan receivable, respectively. Shanghai Baoying
      subsequently repaid RMB 4 million, which was subsequently loaned to Wang
      Qinggang.

      The Company analyzed the transactions and determined the funds were originally
      from Shanghai Baoyin and eventually paid back to the same related parties.
      Recovery of bad debt and related party loan receivable was overstated by RMB 30
      million for the fiscal year 2021.

      The Company intends to amend its financial statements for the fiscal year 2021 to
      restate loans receivable – related parties and bad debt recovery. The impact of the
      restatement on the Company’s consolidated statement of operations for the fiscal
      year ended June 30, 2021 is expected to include the following:

      ·      recovery for doubtful accounts decreased by approximately $4.6 million
             from $321,168 to a provision for doubtful accounts of $4.2 million;




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      ·      net loss increased by approximately $4.6 million from $6.7 million to $11.3
             million; and

      ·      related party loans receivable decreased by $4.6 million from $4.6 million
             to nil.

      The audit committee also concluded that the financial statements for the quarters
      ended September 30, 2021 and December 31, 2021 included in the Company’s
      Quarterly Reports on Form 10-Q (the “2021 Form 10-Qs,” collectively with the
      2021 Form 10-K, the “Affected Reports”), filed with the SEC on November 12,
      2021 and February 14, 2022, respectively, should no longer be relied upon as a
      result of incorrect recognition of revenue from freight shipping services in the
      amount of $980,200 for the three months ended September 30, 2021 and six months
      ended December 31, 2021.

      During the audit for the fiscal year ended June 30, 2022, the Company discovered
      the error in revenue recognition by its subsidiary, SGS NY Sino-Global Shipping
      New York Inc., that $980,200 of revenue recognized in freight logistics did not
      meet revenue recognition criteria for the three months ended September 30, 2021
      and six months ended December 31, 2021.

      In addition, due to a lack of proper procedures in identifying and recording related
      party transactions. there was an error in the accounting treatment of the Company’s
      recovery (provision) for doubtful accounts, net related to its other receivables.

      The impact of the restatement of recovery (provision) for doubtful accounts
      includes the following:

      ·      recovery for doubtful accounts decreased by approximately $1.9 million
             from approximately $1.9 million to a provision for doubtful accounts of
             approximately $34,000 for the three months ended September 30, 2021 and
             the six months ended December 31, 2021;

      ·      net loss increased by approximately $2.2 million from approximately $3.0
             million to approximately $5.2 million for the three months ended September
             30, 2021; and

      ·      net loss increased by approximately $2.2 million from approximately $11.8
             million to approximately $14.0 million for the six months ended December
             31, 2021.

      The Company intends to correct the errors referenced above in an amendment to
      (1) the 2021 Form 10-K (the “Amended Form 10-K”) and (2) each of the 2021
      Form 10-Qs (the “Amended Form 10-Qs”). The Company’s management has
      concluded that in light of the accounting errors described above, a material
      weakness exists in the Company’s internal control over financial reporting and that



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      the Company’s disclosure controls and procedures were not effective as of June 30,
      2021, September 30, 2021, December 31, 2021, and June 30, 2022. The Company’s
      remediation plan with respect to such material weakness will be described in more
      detail in the Amended Form 10-K and the Amended Form 10-Qs.

      The Company’s management and the audit committee have discussed the matters
      disclosed in this Current Report on Form 8-K pursuant to this Item 4.02 with Audit
      Alliance LLP, the Company’s independent registered public accounting firm.

      241.   On March 6, 2023, Singularity issued an amended 8-K/A in which it announced that:

      On March 3, 2023, Singularity Future Technology Ltd.(the “Company”) discovered
      errors in the disclosure related to certain transactions in 2019 in its Current Report
      on Form 8-K (the “Form 8-K”) filed with the Securities and Exchange Commission
      (the “SEC”) on February 28, 2023. This Amendment No. 1 to the Form 8-K is being
      filed by the Company solely to amend the incorrect disclosure. For easy of
      reference the Form 8-K is hereby amended and restated in its entirety as set forth
      below.

      Item 4.02.   Non-Reliance on Previously Issued Financial Statements or a
      Related Audit Report or Completed Interim Review.

      On February 28, 2023 , the audit committee of Singularity Future Technology
      Ltd.(the “Company”), after discussion with the management of the Company, and
      in consultation with the Company’s independent registered public accounting firm,
      concluded that the Company’s previously issued financial statements for the fiscal
      year ended June 30, 2021 included in the Company’s Annual Report on Form 10-
      K filed with the Securities and Exchange Commission (the “SEC”) on November
      29, 2021 (the “2021 Form 10-K”) should no longer be relied upon as a result of
      incorrect accounting treatment of approximately $4.6 million of related party loan
      receivable.

      From March to June 2019, Trans Pacific Logistic Shanghai Ltd.(“Trans Pacific
      Shanghai”), a subsidiary of the Company, received approximately $6.2 million
      (RMB 40 million) from a related party, Shanghai Baoyin Industrial Co.,
      Ltd.(“Shanghai Baoyin”), to pay for accounts receivable of six different customers
      totaling RMB 40 million. Shanghai Baoyin is 30% owned by Wang Qinggang, the
      CEO and legal representative of Trans Pacific Shanghai. Trans Pacific Shanghai
      subsequently paid RMB 20 million and RMB 10 million to Zhangjiakou Baoyu
      Trading Co. Ltd.(“Baoyu”), a third party, in April 2019 and July 2019, respectively,
      and it made an additional payment of RMB 10 million to Hebei Baoxie Trading
      Co., Ltd.(“Hebei Baoxie”), a third party, in July 2019.

      As such, for the fiscal year ended June 30, 2019, accounts receivable was
      understated by RMB 40 million, advance to supplier was overstated by RMB 20
      million, and other payables from Shanghai Baoyin, a related party, were



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           understated by RMB 20 million. There was an overstatement of RMB 20 million
           in total assets and an understatement of total liabilities of RMB 20 million.

           During the fiscal year ended June 30, 2020, Baoxie repaid a total of RMB 10 million
           to Trans Pacific Shanghai, and Trans Pacific Shanghai advanced the RMB 10
           million to Shanghai Baoyin. The RMB 10 million paid to Shanghai Baoyin was
           recorded as other receivable, and the RMB 30 million advance to Baoyu was
           reclassified from an advance to supplier to other receivable. The Company provided
           a full allowance of its receivables totaling RMB 40 million. The Company
           evaluated this transaction and determined there is no cumulative effect on the
           Company’s total assets, liabilities, or retained earnings as of June 30, 2020.

           During the fiscal year ended June 30, 2021, Baoyu repaid RMB 30 million to Trans
           Pacific Shanghai. The RMB 30 million received was recorded as recovery of bad
           debt. Trans Pacific Shanghai then loaned the same amount to Shanghai Baoyin.
           Shanghai Baoyin subsequently repaid RMB 4 million to Trans Pacific Shanghai,
           and Trans Pacific Shanghai loaned the same amount to Wang Qinggang. The RMB
           30 million received was recorded as recovery of bad debt for other receivable and
           the RMB 30 million paid was recorded as a related party loan receivable.

           The Company analyzed the transactions and determined the RMB 30 million was
           originally from Shanghai Baoyin and eventually paid back to the same related
           parties. Recovery of bad debt and related party loan receivable was overstated by
           RMB 30 million for the fiscal year 2021.

           242.    Singularity’s Form 10-Q for the quarter ended December 31, 2022, filed with the

SEC on March 7, 2023, admitted that the Company’s November 16, 2021 Rich Trading transaction

was an improper related party transaction, stating:114

           On November 16, 2021, the Company entered into a project cooperation agreement
           with Rich Trading Co. Ltd USA (“Rich Trading”) for the trading of computer
           equipment. Rich Trading’s bank account was controlled by now-terminated
           members of the Company’s management and was, at the time, an undisclosed
           related party. According to the agreement, the Company was to invest $4.5 million
           in the trading business operated by Rich Trading and the Company would be
           entitled to 90% of profits generated by the trading business. The Company
           advanced $3,303,424 for this project. $3,200,000 has been returned to the
           Company. The Company provided allowance of $103,424 for the year ended June
           30, 2022.

           243.    Singularity’s Form 10-Q for Q1 2023 also acknowledged that the Company’s Rich



114
      https://www.sec.gov/Archives/edgar/data/1422892/000121390023017863/f10q1222_singularity.htm.


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Trading transaction was a related party transaction – which, as alleged above, was not disclosed as

a related party transaction:115

           We also made related party advances of approximately $5.1 million, including
           approximately $3.2 million of advances to Rich Trading Co. Ltd., a related party.
           $1.3 million to Shanghai Baoyin Industrial Co., Ltd. (“Baoyin”) which is 30%
           owned by Qinggang Wang, a related party and approximately $0.6 million of
           advances to our equity investee, LSM Trading Ltd. These advances are non-interest
           bearing and due on demand.

           244.    On March 10, 2023, Singularity announced that:

           On March 8, 2023, Singularity Future Technology Ltd. (the “Company”) received
           a notice from Nasdaq Listing Qualifications department of The Nasdaq Stock
           Market LLC (“Nasdaq”) stating that the Company no longer complies with
           Nasdaq’s audit committee requirement under Nasdaq’s Listing Rule 5605
           following the resignation of John Levy from the Company’s board of directors and
           audit committee effective February 23, 2023. Nasdaq advised the Company that in
           accordance with Nasdaq’s Listing Rule 5605(c)(4), the Company has a cure period
           to regain compliance (i) until the earlier of the Company’s next annual
           shareholders’ meeting or February 23, 2024; or (ii) if the next annual shareholders’
           meeting is held before August 22, 2023, then the Company must evidence
           compliance no later than August 22, 2023 (the “Cure Period”). The Company
           intends to regain compliance with Nasdaq’s Listing Rule 5605 prior to the end of
           the Cure Period.

           245.    On March 22, 2023, Singularity filed a Form 8-K with the SEC in which it announced

that:

           On March 16, 2023, Singularity Future Technology Ltd. (the “Company”) received
           a formal notification from the Nasdaq Stock Market LLC confirming that the
           Company had regained compliance with the Nasdaq Listing Rule 5250(c)(1), which
           requires the Company to timely file all required periodic financial reports with the
           Securities and Exchange Commission, and that the matter is now closed.

           246.    On July 12, 2023, Singularity announced that:

           On July 7, 2023, Singularity Future Technology Ltd. (the “Company” or
           “Registrant”) received an Notice of Noncompliance Letter (the “Letter”) from The
           Nasdaq Stock Market LLC (“Nasdaq”) stating that the Company was not in
           compliance with Nasdaq Listing Rules due to its failure to timely hold an annual
           meeting of shareholders for the fiscal year ended June 30, 2022 (the “Annual


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      https://www.sec.gov/Archives/edgar/data/1422892/000121390023039819/f10q0323_singularity.htm.


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       Meeting”), which is required to be held within twelve months of the Company’s
       fiscal year end under Nasdaq Listing Rule 5620(a) and 5810(c)(2)(G).

       The Letter also states that the Company has 45 calendar days to submit a plan to
       regain compliance (the “Plan”) and if Nasdaq accepts the Plan, it can grant the
       Company an exception of up to 180 calendar days from the fiscal year end, or until
       December 27, 2023, to regain compliance. Nasdaq requires the Plan to be submitted
       no later than August 21, 2023.

       247.    On July 14, 2023, Singularity announced that:

        Item 3.01 Notice of Delisting or Failure to Satisfy a Continued Listing Rule
        or Standard; Transfer of Listing.

        On July 13, 2023, Singularity Future Technology Ltd. (the “Company” or the
        “Registrant”) received a notice from The Nasdaq Stock Market LLC (“Nasdaq”)
        stating that the Company no longer complies with Nasdaq’s independent director
        and audit committee requirements under Nasdaq’s Listing Rule 5605 following
        the resignation of Tieliang Liu from the Company’s board of directors and audit
        committee effective July 3, 2023. Nasdaq advised the Company that in accordance
        with Nasdaq’s Listing Rule 5605(c)(4), the Company has a cure period to regain
        compliance (1) until the earlier of the Company’s next annual shareholders’
        meeting or July 3, 2024; or (2) if the next annual shareholders’ meeting is held
        before January 2, 2024, then the Company must evidence compliance no later than
        January 2, 2024 (the “Cure Period”). The Company intends to regain compliance
        with Nasdaq’s Listing Rule 5605 prior to the end of the Cure Period.

        On July 13, 2023, the Company received a notice from Nasdaq stating that the
        Company failed to regain compliance with respect to the minimum $1 bid price
        per share requirement under Nasdaq Listing Rules during the 180 calendar days
        given by Nasdaq for the Company to regain compliance, which ended on July 5,
        2023. However, Nasdaq has determined that the Company is eligible for an
        additional 180 calendar day period, or until January 2, 2024, to regain compliance.
        Such determination is based on the Company meeting the continued listing
        requirement for market value of publicly held shares and all other applicable
        requirements for initial listing on the Capital Market with the exception of the bid
        price requirement, and the Company’s written notice of its intention to cure the
        deficiency during the second compliance period by effecting a reverse stock split,
        if necessary. The Company intends to regain compliance with Nasdaq’s bid price
        requirement prior to the end of the second bid price extension.

VII.   SUMMARY OF SCIENTER ALLEGATIONS

       248.    The facts detailed above and summarized below, when viewed holistically and

together with the other allegations in this Corrected Amended Complaint, establish a strong inference



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that each of the Singularity Defendants knew or were severely reckless in not knowing that each of

the misrepresentations and omissions alleged herein would be, and were, false or misleading to

investors at the time they were made.

       249.    At all relevant times, each of the Singularity Defendants knew or recklessly

disregarded that their statements and omissions concerning Jie’s criminal past and history of

financial improprieties, undisclosed related party transactions, sham joint ventures and contracts with

sham entities, Singularity’s sale of unregistered securities on the basis of its sham transformation

into a cryptocurrency company and inability to engage in meaningful cryptocurrency mining and to

develop a proprietary cryptocurrency mining machine during the Class Period, were false or

misleading to investors at the time they were made. In summary of and in addition to the facts more

fully discussed above, Defendants’ scienter is evidenced by the following facts.

       A.      Singularity’s Failure to Deliver on its Cryptocurrency Ventures

       250.    Singularity’s senior management’s actual knowledge, and access to information,

concerning the inability to transform into a cryptocurrency company (including manufacture crypto

mining machines and build mining operations) further gives rise to a strong inference of scienter.

Directors and senior management had actual knowledge that Singularity could not and would not

deliver on its myriad promises to transform into a successful cryptocurrency business because the

Company was engaged in related party transactions, did not engage in meaningful cryptocurrency

mining, had not developed a proprietary cryptocurrency mining machine, entered into joint ventures

with sham companies and was aware that COVID-19 and the worldwide chip shortage would render

it impossible to deliver on its promise to develop and deliver a proprietary cryptocurrency mining

machine.




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           B.      Singularity’s Failure to Reveal Jie’s Criminal Past, Financial Improprieties
                   and Accurate Educational Background

           251.    As alleged above, Singularity touted senior management’s actual knowledge, and

access to information, further gives rise to a strong inference of scienter. Senior management and

Directors, including Jie, Zhikang, and Levy, knew that Jie had been accused of extensive criminal

conduct and found to have participated in financial improprieties.

           C.      Singularity Abandoned Its Transformation to a Cryptocurrency Company

           252.    As alleged above, Singularity’s Form 10-Q for the period ended Q1 2023 confirms

that it has exited the cryptocurrency business stating: “The Company ceased to sell crypto-mining

equipment since January 1, 2023. For the three months ended March 31, 2023, the Company did not

sell crypto-mining machines.”116

           D.      Singularity’s Settlements With SOS

           253.    As alleged above, in December 2022, Singularity promptly settled the lawsuit by

SOS over its failure to deliver its purportedly proprietary bitcoin mining machines for $13,000,000

and the return to SOS of future recoveries.

           E.      Singularity’s Settlements With Purchasers of Unregistered Shares of
                   Singularity Common Stock

           254.    As alleged above, on or about February 24, 2023, Singularity paid $10,525,910.82 to

settle the claims of Hexin Global Limited, Viner Total Investments Fund, Jinhe Capital Limited, St.

Hudson Group LLC, Imperii Strategies LLC, Isyled Technology Limited, and HS-QYNM Family

Inc., alleging misrepresentations by Singularity, Jie, Shan, Pan, and Cao regarding Singularity’s

cryptocurrency business to induce private investments in the Company.




116
      https://www.sec.gov/ix?doc=/Archives/edgar/data/0001422892/000121390023039819/f10q0323_singularity.htm.


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           F.      The Criminal and SEC Investigations of Singularity Are Strongly Indicative
                   of Scienter

           255.    Courts recognize government investigations can support a strong inference of

scienter. Here, there are three confirmed open investigations against Singularity.

           256.    For example, Singularity disclosed that the “Board of Directors of the Employer

formed a special committee of the Board (the ‘Special Committee’) to review and investigate claims

raised in the Hindenburg Report, and to respond to subpoenas from the United States Attorney’s

Office for the Southern District of New York (‘USAO’), the United States Securities and Exchange

Commission (“SEC”), and the Financial Industry Regulatory Authority (“FINRA”) (the

“Investigation”).”117

           257.    The governmental scrutiny of the improper practices in question further contributes

to a strong inference of Defendants’ scienter.

           G.      Leadership Changes at Singularity Further Support a Strong Inference of
                   Scienter

           258.    During and following the Class Period Cao, Shan, Pan and Jie were all terminated,

resigned or found to have engaged in improper conduct during the Class Period and while in the

employ of Singularity. Such remedial measures and findings further support a strong inference of

scienter. This type of “house-cleaning” does not typically follow innocent instances of

mismanagement.

           259.    In its Form 10-Q for the period ending December 31, 2022, Singularity

acknowledged that its former CEO, Defendant Cao, was terminated and forfeited 600,000 shares of

common stock:

           Note 20. SUBSEQUENT EVENTS



117
      https://www.sec.gov/Archives/edgar/data/1422892/000121390023002787/ea171630ex10-1_singularity.htm


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           On January 9, 2023, the Company entered into an Executive Separation Agreement
           and General Release (the “Separation Agreement”), with Lei Cao, an employee of
           the Company and a member of the Board of Directors of the Company (the
           “Board”), setting forth the terms and conditions related to (1) the termination of
           Mr. Cao’s employment with the Company and the termination of the employment
           agreement dated as of November 1, 2021 as well as cancellation and/or termination
           of certain other agreements relating to Mr. Cao’s employment with the Company;
           and (2) Mr. Cao’s resignation from the Board, effective as of January 9, 2023.

           Pursuant to the Separation Agreement, Mr. Cao submitted a letter of resignation
           from the Board on January 9, 2023. In addition, he agreed to forfeit and return to
           the Company the 600,000 shares of common stock of the Company granted to him
           on August 13, 2021 under the terms of the 2014 Equity Incentive Plan of the
           Company (the “2021 Shares”). Mr. Cao also agreed to cooperate with the Company
           regarding certain investigations and proceedings set forth in the Separation
           Agreement, and/or any other matters arising out of or related to Mr. Cao’s
           relationship with or service to the Company. In consideration, the Company agreed
           to provide the following benefits to which Mr. Cao was not otherwise entitled: (1)
           payment of reasonable attorneys’ fees and costs incurred by Mr. Cao up through
           January 9, 2023 associated with Mr. Cao’s personal legal representation in matters
           relating to Mr. Cao’s tenure with the Company, the investigations and proceedings
           set forth in the Separation Agreement, and the negotiation and drafting of the
           Separation Agreement; (2) the release of claims in Mr. Cao’s favor contained in the
           Separation Agreement; and (3) payment of Mr. Cao’s reasonable and necessary
           legal fees to the extent incurred by Mr. Cao as a result of his cooperation as required
           by the Company under the terms of the Separation Agreement. Additionally, the
           Separation Agreement contains mutual general releases and waiver of claims from
           Mr. Cao and the Company.118

           260.    On June 24, 2022, Singularity filed a Form 8-K with the SEC, signed by Shan, in

which it announced that:119

           Effective June 20, 2022, Ms. Tuo Pan, Chief Financial Officer of Singularity Future
           Technology Ltd. (the “Company”), was suspended by the Board of Directors for
           cause and without pay. On June 16, 2022, Ms. Pan, without proper authorization by
           the Company’s Board of Directors, directed that funds be wired to satisfy an invoice
           for legal services that were rendered or to be rendered to Ms. Pan personally.

           It is anticipated that Ms. Pan’s compensation will resume if she cooperates fully in
           the investigation by the Special Committee of the Company, which was formed to
           investigate allegations raised in the report of Hindenburg Research dated May 5,
           2022 and other related matters.


118
      https://www.sec.gov/ix?doc=/Archives/edgar/data/0001422892/000121390023017863/f10q1222_singularity.htm.
119
      https://www.sec.gov/Archives/edgar/data/1422892/000121390022034915/ea162042-8k_singular.htm.


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        261.    On September 7, 2022, Singularity filed a Form 8-K with the SEC, signed by Shan,

in which it announced that:120

        On August 31, 2022, Ms. Tuo Pan was terminated for cause as an employee and
        Chief Financial Officer of Singularity Future Technology Ltd. (the “Company”) and
        from any other position at any subsidiary of the Company to which she has been
        appointed. Ms. Pan was terminated for cause in accordance with the terms of her
        Employment Agreement dated November 9, 2021 and will not receive any salary or
        benefits from the Company except those earned through August 31, 2022.

        262.    On August 12, 2022, Singularity filed a Form 8-K with the SEC, signed by Shan, in

which it announced that:121

        On August 9, 2022, Mr. Yang Jie tendered his resignation from his positions as the
        Chief Executive Officer (“CEO”) and director of Singularity Future Technology
        Ltd. (the “Company”) to the board of directors of the Company (the “Board”),
        following the Board’s decision on August 8, 2022, which adopted the Special
        Committee’s recommendation that Mr. Jie be suspended immediately as the
        Company’s CEO, pending the Special Committee’s further investigation into
        allegations raised in the report of Hindenburg Research dated May 5, 2022 and
        other related matters.

        263.    On November 22, 2022, Singularity filed a Form 8-K with the SEC, signed by Shan,

in which it announced that on November 18, 2022, Shi Qiu tendered his resignation as Chief

Technology Officer of the Company, effective immediately.122

        264.    On July 14, 2023, Singularity announced that:123

         Item 5.02. Departure of Directors or Certain Officers; Election of Directors;
         Appointment of Certain Officers; Compensatory Arrangements of Certain
         Officers

         On July 10, 2023, Company terminated the employment of its COO Jing with
         cause. The termination was effective immediately.




120
    https://www.sec.gov/Archives/edgar/data/1422892/000121390022054510/ea165431-8k_singularity.htm.
121
    https://www.sec.gov/Archives/edgar/data/1422892/000121390022047378/ea164278-8k_singularity.htm.
122
    https://www.sec.gov/Archives/edgar/data/1422892/000121390022074586/ea169146-8k_singularity.htm.
123
    https://www.sec.gov/Archives/edgar/data/1422892/000121390023057078/ea181819-8k_singularity.htm.


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VIII. LOSS CAUSATION

        265.    Defendants’ wrongful conduct, as alleged herein, directly and proximately caused the

economic loss suffered by Plaintiffs and the Class.

        266.    During the Class Period, Plaintiffs and the Class purchased or otherwise acquired

shares of Singularity common stock at artificially inflated prices and were damaged thereby when

the price of Singularity common stock declined when the truth was gradually revealed through partial

disclosures during the Class Period. Throughout the Class Period, the price of Singularity’s common

stock was artificially inflated as a result of Defendants’ materially false or misleading statements and

omissions and Defendants’ scheme to deceive the market. The price of Singularity common stock

significantly declined (causing investors to suffer losses) when Defendants’ materially false or

misleading statements and omissions, alleged herein to have been concealed from the market, and/or

the effects thereof, were revealed, and/or the risks that had been fraudulently concealed by

Defendants materialized.

        267.    Specifically, Defendants’ materially false or misleading misstatements and

omissions misrepresented or omitted material facts regarding: (a) the Company’s transformation to

a cryptocurrency company was either a sham or not reasonably achievable; (b) the Company’s

raise of over $21 million through the sale of unregistered securities (through contracts that

Singularity was in breach of at the moment that the Company entered into them) on the basis of

its sham transformation into a cryptocurrency company; (c) the personal and professional

backgrounds of Jie and Levy; (d) related-party transactions with entities such as SOS and Rich

Trading; (e) the formation of sham companies with which it entered into joint ventures or entered

joint ventures with sham companies such as Golden Mainland; and (f) the Company’s inadequate

internal controls, one or more of which resulted in investigations by the United States Attorney’s

Office for the Southern District of New York, FINRA, and the SEC, as well as a potential delisting


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by NASDAQ. When those materially false or misleading misstatements and omissions were

corrected and the risk concealed by them materialized investors suffered losses as the price of

Singularity’s common stock declined net of industry and market movements.

       268.    It was entirely foreseeable that Defendants’ materially false or misleading statements

and omissions discussed herein would artificially inflate or maintain the price of Singularity’s

common stock. It was also foreseeable to Defendants that the revelation of the truth about: (a) the

fact that Company’s transformation to a cryptocurrency company was either a sham or not

reasonably achievable; (b) the fact that the Company’s raise of over $21 million through the sale

of unregistered securities (through contracts that Singularity was in breach of at the moment that

the Company entered into them) on the basis of its sham transformation into a cryptocurrency

company; (c) the personal and professional backgrounds of Jie and Levy; (d) related-party

transactions with entities such as SOS and Rich Trading; (e) that it had formed sham companies

with which it entered into join ventures or entered joint ventures with sham companies such as

Golden Mainland; and (f) that that Company had inadequate internal controls, one or more of

which resulted in investigations by the United States Attorney’s Office for the Southern District

of New York, FINRA, and the SEC, as well as a potential delisting by NASDAQ, would cause the

price of the Company’s stock to fall as the artificial inflation caused or maintained by Defendants’

misstatements and omissions was removed. Thus, the stock price declines described herein were

directly and proximately caused by Defendants’ materially false or misleading statements and

omissions and Defendants’ scheme to deceive the market.

IX.    PRESUMPTION OF RELIANCE

       269.    At all relevant times, the market for Singularity’s common stock was efficient for the

following reasons, among others:




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       a) Singularity’s stock met the requirements for listing, and was listed and actively traded

on the NASDAQ, a highly efficient market, with an average daily trading volume of hundreds of

thousands or more than one million shares;

       b) as a regulated issuer, Singularity filed periodic reports with the SEC;

       c) Singularity regularly communicated with public investors via established market

communication mechanisms, including through regular dissemination of press releases on the

national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services; and

       d) Singularity was followed by numerous analysts employed by brokerage firms, including,

but not limited to Wright Reports, Sadif Investment Analytics, Markeline, Price Target Research,

BuySellSignals, Validea and CFRA, who wrote reports that were publicly available and entered

the public marketplace.

       270.    As a result of the foregoing, the market for Singularity common stock promptly

digested current information regarding Singularity from all publicly available sources and reflected

such information in Singularity’s stock price. Under these circumstances, purchasers of Singularity

common stock at artificially inflated prices during the Class Period suffered similar injury through

their transactions and a presumption of reliance applies.

X.     INAPPLICABILITY OF THE STATUTORY SAFE HARBOR AND BESPEAKS
       CAUTION DOCTRINE

       271.    The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements described in this Complaint.

Many of the specific statements described herein were not identified as “forward-looking” when

made. To the extent that there were any forward-looking statements, there was no meaningful

cautionary language identifying important factors that could cause actual results to differ materially



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from those in the purportedly forward-looking statements. Alternatively, to the extent that the

statutory safe harbor does apply to any forward-looking statements described herein, Defendants are

liable for those false forward-looking statements because at the time each was made, the particular

speaker knew that the particular forward-looking statement was false or misleading, and/or that the

forward-looking statement was authorized and/or approved by an executive officer of Singularity

who knew that those statements were false or misleading when made.

XI.     CLASS ACTION ALLEGATIONS

        272.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class consisting of all persons other than Defendants who

acquired Singularity securities publicly traded on NASDAQ during the Class Period, and who were

damaged thereby (the “Class”). Excluded from the Class are Defendants, the officers and directors

of Singularity, members of the Individual Defendants’ immediate families and their legal

representatives, heirs, successors or assigns, and any entity in which Defendants have or had a

controlling interest.

        273.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Singularity securities were actively traded on

NASDAQ. While the exact number of Class members is unknown to Plaintiffs at this time and can

be ascertained only through appropriate discovery, Plaintiffs believes that there are hundreds, if not

thousands of members in the proposed Class.

        274.    Plaintiffs’ claims are typical of the claims of the members of the Class as all members

of the Class are similarly affected by Defendants’ wrongful conduct in violation of federal law that

is complained of herein.

        275.    Plaintiffs will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiffs have


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no interests antagonistic to or in conflict with those of the Class.

        276.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                whether the Exchange Act was violated by Defendants’ acts as alleged herein;

                whether statements made by Defendants to the investing public during the Class
                 Period misrepresented material facts about the business and financial condition
                 of Singularity;

                whether Defendants’ public statements to the investing public during the Class
                 Period omitted material facts necessary to make the statements made, in light of
                 the circumstances under which they were made, not misleading;

                whether Defendants omitted to state material facts necessary to make their
                 statements or the statements of their Co-Defendants not misleading;

                whether the Defendants caused Singularity to issue false and misleading filings
                 during the Class Period;

                whether Defendants acted knowingly or recklessly in issuing false filings;

                whether the prices of Singularity securities during the Class Period were
                 artificially inflated because of the Defendants’ conduct complained of herein;
                 and
                whether the members of the Class have sustained damages and, if so, what is the
                 proper measure of damages.

        277.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

        278.    Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:


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                Singularity shares met the requirements for listing, and were listed and actively
                 traded on NASDAQ, an efficient market;

                As a public issuer, Singularity filed periodic public reports;

                Singularity regularly communicated with public investors via established market
                 communication mechanisms, including through the regular dissemination of
                 press releases via major newswire services and through other wide-ranging
                 public disclosures, such as communications with the financial press and other
                 similar reporting services;

                Singularity securities were liquid and traded with moderate to heavy volume
                 during the Class Period; and

                Singularity was followed by securities analysts employed by major brokerage
                 firms who wrote reports that were widely distributed and publicly available.

        279.    Based on the foregoing, the market for Singularity securities promptly digested

current information regarding Singularity from all publicly available sources and reflected such

information in the prices of the shares, and Plaintiffs and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        280.    Alternatively, Plaintiffs and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v. United

States, 406 U.S. 128 (1972), as Defendants omitted material information in their Class Period

statements in violation of a duty to disclose such information as detailed above.

XII.    CLAIMS FOR RELIEF UNDER THE EXCHANGE ACT

                                           COUNT I
                 For Violations of Section 10(b) And Rule 10b-5 Promulgated
                             Thereunder Against All Defendants

        281.    Plaintiffs repeat and reallege each and every allegation contained above as if fully set

forth herein.

        282.    This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.


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         283.    During the Class Period, Defendants, individually and in concert, directly or

 indirectly, disseminated or approved the false statements specified above, which they knew or

 deliberately disregarded were misleading in that they contained misrepresentations and failed to

 disclose material facts necessary in order to make the statements made, in light of the circumstances

 under which they were made, not misleading.

         284.    Defendants violated § 10(b) of the 1934 Act and Rule 10b-5 in that they:

                employed devices, schemes and artifices to defraud;

                made untrue statements of material facts or omitted to state material facts
                 necessary in order to make the statements made, in light of the
                 circumstances under which they were made, not misleading; or

                engaged in acts, practices and a course of business that operated as a fraud
                 or deceit upon Plaintiffs and others similarly situated in connection with their
                 purchases of Singularity securities during the Class Period.

         285.    Defendants acted with scienter in that they knew that the public documents and

 statements issued or disseminated in the name of Singularity were materially false and misleading;

 knew that such statements or documents would be issued or disseminated to the investing public;

 and knowingly and substantially participated, or acquiesced in the issuance or dissemination of such

 statements or documents as primary violations of the securities laws. These Defendants, by virtue of

 their receipt of information reflecting the true facts of Singularity, their control over, and/or receipt

 and/or modification of Singularity’s allegedly materially misleading statements, and/or their

 associations with the Company which made them privy to confidential proprietary information

 concerning Singularity, participated in the fraudulent scheme alleged herein.

         286.    Individual Defendants, who are or were the senior officers and/or directors of the

 Company, had actual knowledge of the material omissions and/or the falsity of the material

 statements set forth above, and intended to deceive Plaintiffs and the other members of the Class, or,

 in the alternative, acted with reckless disregard for the truth when they failed to ascertain and disclose


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 the true facts in the statements made by them or other Singularity personnel to members of the

 investing public, including Plaintiffs and the Class.

         287.    As a result of the foregoing, the market price of Singularity securities was artificially

 inflated during the Class Period. In ignorance of the falsity of Defendants’ statements, Plaintiffs and

 the other members of the Class relied on the statements described above and/or the integrity of the

 market price of Singularity securities during the Class Period in purchasing Singularity securities at

 prices that were artificially inflated as a result of Defendants’ false and misleading statements.

         288.    Had Plaintiffs and the other members of the Class been aware that the market price

 of Singularity securities had been artificially and falsely inflated by Defendants’ misleading

 statements and by the material adverse information which Defendants did not disclose, they would

 not have purchased Singularity securities at the artificially inflated prices that they did, or at all.

         289.    As a result of the wrongful conduct alleged herein, Plaintiffs and other members of

 the Class have suffered damages in an amount to be established at trial.

         290.    By reason of the foregoing, Defendants have violated Section 10(b) of the 1934 Act

 and Rule 10b-5 promulgated thereunder and are liable to the Plaintiffs and the other members of the

 Class for substantial damages which they suffered in connection with their purchase of Singularity

 securities during the Class Period.

                                              COUNT II
                           Violations of Section 20(a) of the Exchange Act
                                 Against the Individual Defendants

         291.    Plaintiffs repeat and reallege each and every allegation contained in the foregoing

 paragraphs as if fully set forth herein.

         292.    During the Class Period, the Individual Defendants participated in the operation and

 management of Singularity, and conducted and participated, directly and indirectly, in the conduct

 of Singularity’s business affairs. Because of their senior positions, they knew the adverse non-public


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 information about Singularity’s false financial statements.

         293.    As officers and/or directors of a publicly owned company, the Individual Defendants

 had a duty to disseminate accurate and truthful information with respect to Singularity’s financial

 condition and results of operations, and to correct promptly any public statements issued by

 Singularity which had become materially false or misleading.

         294.    Because of their positions of control and authority as senior officers or directors, the

 Individual Defendants were able to, and did, control the contents of the various reports, press releases

 and public filings which Singularity disseminated in the marketplace during the Class Period

 concerning Singularity’s results of operations. Throughout the Class Period, the Individual

 Defendants exercised their power and authority to cause Singularity to engage in the wrongful acts

 complained of herein. The Individual Defendants therefore, were “controlling persons” of

 Singularity within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

 participated in the unlawful conduct alleged which artificially inflated the market price of Singularity

 securities.

         295.    By reason of the above conduct, the Individual Defendants are liable pursuant to

 Section 20(a) of the Exchange Act for the violations committed by Singularity.

 XIII. PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, individually and on behalf of the Class, pray for judgment and

 relief as follows:

         (a)     declaring this action to be a proper class action, designating Plaintiffs as Lead

                 Plaintiffs and certifying Plaintiffs as class representatives under Rule 23 of the

                 Federal Rules of Civil Procedure and designating Plaintiffs’ counsel as Lead

                 Counsel;




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         (b)     awarding damages in favor of Plaintiffs and the other Class members against all

                 Defendants, jointly and severally, together with interest thereon;

         (c)     awarding Plaintiffs and the Class reasonable costs and expenses incurred in this

                 action, including counsel fees and expert fees; and

         (d)     awarding Plaintiffs and other members of the Class such other and further relief as

                 the Court may deem just and proper.

 XIV. JURY DEMAND

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs hereby demand

 a trial by jury in this action and all issues so triable.

 Dated: August 30, 2023                           Respectfully submitted,

                                                  KIRBY McINERNEY LLP

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